                 Case 19-50486             Doc 1               Filed 04/12/19                   Entered 04/12/19 15:49:22                  Page 1 of 64
    Fill in this information to identify your case:

     United States Bankruptcy Court for the:

                        District Of Connecticut

     Case number (If known):   ------------                              Chapter you are filing under:
                                                                         !XI   Chapter 7
                                                                         0     Chapter 11
                                                                         0     Chapter 12
                                                                         0     Chapter 13                                                  D   Check if this is an
                                                                                                                                               amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                             12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
 Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form . On the top of any additional pages, write your name and case number
(if known). Answer every question.


f   §81         Identify Yourself

                                          About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case) :

1.       Your full name
         Write the name that is on your
         government-issued picture
                                          Stanley
                                          First name                                                         First name
         identification (for example,
         your driver's license or         H.
         passport).                       Middle name                                                        Middle name

         Bring your picture               Thompson
         identification to your meeting   Last name                                                          Last name
         with the trustee .
                                          Suffix (Sr., Jr. , 11 , Ill)                                       Suffix (Sr., Jr., II , Ill)




    2.   All other names you
         have used in the last 8          First name                                                         First name
         years
         Include your married or          Middle name                                                        Middle name
         maiden names .
                                          Last name                                                           Last name



                                          First name                                                         First name


                                          Middle name                                                        Middle name


                                          Last name                                                           Last name




    3.   Only the last 4 digits of
                                          xxx        - xx                9        2         9   5            xxx       - xx
         your Social Security
         number or federal                OR                                                                  OR
         Individual Taxpayer
         Identification number            9 xx - xx                                                           9xx - xx
         (ITIN)

    Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                        page 1
              Case 19-50486                Doc 1            Filed 04/12/19               Entered 04/12/19 15:49:22                      Page 2 of 64
Debtor 1        Stanley H. Thompson                                                                     Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
               First Name   Middle Name               Last Name




                                          About Debtor 1 :                                                  About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                         [XJ I have not used any business names or EINs.                    D     I have not used any business names or EINs .
     Identification Numbers
     (EIN) you have used in
     the last 8 years                     Business name                                                      Business name

      Include trade names and
      doing business as names             Business name                                                      Business name




                                          EIN                                                                EIN



                                          EIN                                                                EIN




s. Where you live                                                                                            If Debtor 2 lives at a different address :



                                          162 Strawberry Hill Avenue
                                          Number          Street                                             Number           Street




                                          Norwalk                                 CT         06851
                                          City                                       State   ZIP Code        City                                        State   ZIP Code


                                          FAIRFIELD
                                          County                                                             County


                                          If your mailing address is different from the one                  If Debtor 2's mailing address is different from
                                          above, fill it in here. Note that the court will send              yours, fill it in here. Note that the court will send
                                          any notices to you at this mailing address.                        any notices to this mailing address.



                                          Number           Street                                            Number           Street



                                          P.O. Box                                                           P.O. Box



                                          City                                       State   ZIP Code        City                                        State   ZIP Code




      Why you are choosing                 Check one:                                                        Check one:
      this district to file for
      bankruptcy
                                           !XI   Over the last 180 days before filing this petition ,        D      Over the last 180 days before filing this petition ,
                                                 I have lived in this district longer than in any                   I have lived in this district longer than in any
                                                 other district.                                                    other district.

                                           D     I have another reason . Explain .                           D      I have another reason . Exp lain .
                                                 (See 28 U.S.C § 1408.)                                             (See 28 USC § 1408.)




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                            page 2
              Case 19-50486                 Doc 1           Filed 04/12/19           Entered 04/12/19 15:49:22                     Page 3 of 64
Debtor 1        Stanley H. Thompson                                                                   Case number (;(known) _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name   Middle Name              l ast Name




              Tell the Court About Your Bankruptcy Case


7.     The chapter of the                  Check one. (For a brief description of each , see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing
       Bankruptcy Code you                 for Bankruptcy (Form 2010)) . Also , go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                           li"I Chapter 7
                                           0 Chapter 11

                                           0Chapter12

                                           0 Chapter 13


s. How you will pay the fee                !XI I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                 local court for more details about how you may pay. Typically , if you are paying the fee
                                                 yourself, you may pay with cash , cashier's check, or money order. If your attorney is
                                                 submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                 with a pre-printed address.

                                           0 I need to pay the fee in installments. If you choose this option , sign and attach the
                                             Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                           0 I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                             By law, a judge may, but is not required to, waive your fee , and may do so only if your income is
                                             less than 150% of the official poverty line that applies to your family size and you are unable to
                                             pay the fee in installments). If you choose this option , you must fill out the Application to Have the
                                             Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition .


9.     Have you filed for                  ~No
       bankruptcy within the
       last 8 years?                       0     Yes . District _ _ _ _ _ _ _ _ _ _ When                               Case number _ _ _ _ _ _ _ _ __
                                                                                                     MM / DD / YYYY

                                                       District _ _ _ _ _ _ _ _ _ _ When             _ _ _ _ _ _ Case number _ _ _ _ _ __ _ __
                                                                                                     MM I DD I YYYY

                                                       District _ _ _ _ _ _ _ _ _ _ When             _ _ _ _ _ _ Case n u m b e r - - - - - - - - - -
                                                                                                     MM I DD / YYYY



10.    Are any bankruptcy                  IXJ   No
       cases pending or being
       filed by a spouse who is            0     Yes. Debtor - - - - - - - - - - - - - - - - - - - R e l a tionship to you
       not filing this case with                       District - - - - - - - - - - W h e n                            Case number, if known_ _ _ _ _ _ __
       you , or by a business                                                                        MM / DD / YYYY
       partner, or by an
       affiliate?
                                                       Debtor - - - - - - - - - - - - - - - - - - - R e l a t ionship to you

                                                       District _ _ _ _ _ _ _ _ _ _ When                               Case number, if known_ _ _ _ _ _ __
                                                                                                     MM I DD / YYYY


11 .   Do you rent your                    IXI   No. Go to line 12.
       residence?                          0     Yes. Has your landlord obtained an eviction judgment against you?

                                                       0    No. Go to line 12.
                                                       0    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101 A) and file it as
                                                            part of this bankruptcy petition .




     Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
              Case 19-50486                      Doc 1             Filed 04/12/19            Entered 04/12/19 15:49:22                       Page 4 of 64
Debtor 1        Stanley H. Thompson                                                                           Case number (ii known) _ _ _ _ _ _ _ _ __ __ __
                First Name        Middle Name               Last Name




              Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                   ~ No. Go to Part 4.
      of any full- or part-time
      business?                                 D     Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an
                                                           Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation , partnership, or
                                                           Number       Street
      LLC .
      If you have more than one
      sole proprietorship , use a
      separate sheet and attach it
      to this petition .
                                                            City                                                    State         ZIP Code



                                                           Check the appropriate box to describe your business :
                                                           D   Health Care Business (as defined in 11 U.S.C. § 101(27 A) )

                                                           D   Single Asset Rea l Estate (as defined in 11 U.S.C. § 101 (51 B))

                                                           0   Stockbroker (as defined in 11 U.S.C. § 101 (53A))

                                                           0   Commodity Broker (as defined in 11 U.S.C. § 101 (6))

                                                           D   None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash -flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                Iii   No. I am not filing under Chapter 11 .
      For a definition of small
      business debtor, see                      D     No . I am filing under Chapter 11 , but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101 (510).                               the Bankruptcy Code .

                                                0     Yes. I am fil ing under Chapter 11 and I am a small business debtor according to the defin ition in the
                                                           Bankruptcy Code .


               Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    Iii No
      property that poses or is
      alleged to pose a threat                  D Yes.      What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                             If immediate attention is needed , why is it n e e d e d ? - - - - - - - -- -- - - - - - - -
      immediate attention?
      For e xample , d o you o w n
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                            Where is the p roperty? ---,-----,-----------------------~
                                                                                      Number         Street




                                                                                      City                                            State      ZI P Code


  Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                     page 4
            Case 19-50486                      Doc 1         Filed 04/12/19             Entered 04/12/19 15:49:22                         Page 5 of 64
Debtor 1       Stanley H. Thompson                                                                          Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
              First Name     Middle Name               La st Name




            Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1 :                                                      About Debtor 2 (Spouse Only in a Joint Case) :
15. Tell the court whether
   you have received a
   briefing about credit                   You must check one:                                                   You must check one:
   counseling.
                                           Iii   I received a briefing from an approved credit                   0    I received a briefing from an approved credit
                                                 counseling agency within the 180 days before I                       counseling agency within the 180 days before I
    The law requires that you                    filed this bankruptcy petition, and I received a                     filed this bankruptcy petition, and I received a
    rece ive a briefing about credit             certificate of completion.                                           certificate of completion.
    counseling before you file for
                                                 Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
    bankruptcy. You must
                                                 plan , if any, that you developed with the agency.                   plan , if any, that you developed with the agency.
    truthfully check one of the
    following cho ices. If you             0     I received a briefing from an approved credit                   D    I received a briefing from an approved credit
    cannot do so, you are not                    counseling agency within the 180 days before I                       counseling agency within the 180 days before I
    eligible to file .                           filed this bankruptcy petition, but I do not have a                  filed this bankruptcy petition , but I do not have a
                                                 certificate of completion.                                           certificate of completion.
    If you file anyway, the court                Within 14 days after you file this bankruptcy petition ,             Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you                   you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate an d pa yment
    will lose whatever filing fee                plan , if any.                                                       plan , if any.
    you paid , and your creditors
    can begin collection activities        0     I certify that I asked for credit counseling                    0    I certify that I asked for credit counseling
    again .                                      services from an approved agency, but was                            services from an approved agency, but was
                                                 unable to obtain those services during the 7                         unable to obtain those services during the 7
                                                 days after I made my request, and exigent                            days after I made my request, and exigent
                                                 circumstances merit a 30-day temporary waiver                        circumstances merit a 30-day temporary waiver
                                                 of the requirement.                                                  of the requirement.

                                                 To ask for a 30-day temporary waiver of the                          To ask for a 30-day temporary waiver of the
                                                 requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                                 what efforts you made to obtain the briefing , why                   what efforts you made to obtain the briefing , wh y
                                                 you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                                 bankruptcy, and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                                 required you to file this case.                                      required you to file th is case .
                                                 Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                                 dissatisfied with your reasons for not receiving a                   dissatisfied with you r reasons fo r not rece iving a
                                                 briefing before you filed for bankruptcy.                            briefing before you fi led for bankruptcy.
                                                 If the court is satisfied with your reasons , you must               If the court is satisfied with you r reasons, yo u must
                                                 still receive a briefing within 30 days after you file .             still receive a briefing within 30 days afte r you file .
                                                 You must file a certificate from the approved                        You must file a certificate from the approved
                                                 agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan yo u
                                                 developed , if any. If you do not do so, your case                   developed , if any. If you do not do so, your case
                                                 may be dismissed .                                                   may be dismissed .
                                                 Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                                 only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                                 days.                                                                days .

                                           D     I am not required to receive a briefing about                    D   I am not required to receive a briefing about
                                                 credit counseling because of:                                        credit counseling because of:

                                                 D   Incapacity.    I have a mental illness or a mental               D   Incapacity.    I have a mental illness or a mental
                                                                    deficiency that makes me                                             deficiency that makes me
                                                                    incapable of realizing or maki ng                                    incapable of real izing or ma ki ng
                                                                    rational decisions about finances .                                  rational decisions about finances.
                                                 D   Disability.    My physical disability causes me                  D   Disability.    My physical disability causes me
                                                                    to be unable to participate in a                                     to be unable to participate in a
                                                                    briefing in person , by phone , or                                    briefing in perso n , by p h o n e , o r
                                                                    through the internet, even after I                                    through the internet, even after I
                                                                    reasonably tried to do so .                                           reasonably tried to do so.
                                                 D   Active duty. I am currently on active military                   D   Active duty. I am currently on active milita ry
                                                                  duty in a military combat zone .                                     duty in a milita ry combat zone.
                                                 If you believe you are not requ ired to receive a                    If you believe you are not requ ired to receive a
                                                 briefing about credit counseling , you must file a                   briefing about credit counsel ing , you must file a
                                                 motion for waiver of credit counseling with the court.               motion for waiver of credit cou nseling with the cou rt .




  Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                              pag e 5
           Case 19-50486                 Doc 1            Filed 04/12/19          Entered 04/12/19 15:49:22                        Page 6 of 64
Debtor 1     Stanley H. Thompson                                                                     Case number Vfknown>_ _ _ _ _ _ _ _ _ _ _ _ __
             First Name   Middle Name               Last Na me




           Answer These Questions for Reporting Purposes

                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101 (8)
1s. What kind of debts do                    as "incurred by an individual primarily for a personal, family , or household purpose ."
    you have?
                                             D     No . Go to line 16b.
                                             Iii   Yes. Go to line 17.

                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.

                                             D     No. Go to line 16c.
                                             D     Yes. Go to line 17.

                                        16c. State the type of debts you owe that are not consumer debts or business debts .



17. Are you filing under
    Chapter 7?                          D   No. I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after ~ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                   Iii   No
    administrative expenses
    are paid that funds will be                    D     Yes
    available for distribution
    to unsecured creditors?
                      --·---·----
18. How many creditors do               ~ 1-49                                  D   1,000-5,ooo                              D   25,001-50 ,000
    you estimate that you               D   50-99                               D   5,001-10,000                             D   50 ,001-100,000
    owe?                                D   100-199                             D   10,001-25 ,000                           D   More than 100,000
                                        D   200-999

19. How much do you                     ~ $0-$50,000                            D   $1 ,000,001-$1 O million                 D   $500,000,001-$1 billion
    estimate your assets to             D   $50 ,001-$100 ,00,0                 D   $10 ,000 ,001 -$50 million               D   $1 ,000 ,000,001-$1 O billion
    be worth?                           D   $100,001-$500,000                   D   $50 ,000,001-$100 million                D   $10,000,000,001-$50 billion
                                        D   $500,001-$1 million                 D   $100 ,000 ,001-$500 million              D   More than $50 billion

20. How much do you                     D   $0-$50,ooo                          D   $1 ,000,001-$1 O million                 D   $500 ,000 ,001-$1 billion
    estimate your liabilities           D   $50 ,001-$100 ,000                  D   $10,000 ,001-$50 million                 D   $1 ,000 ,000 ,001 -$10 billion
    to be?                              ~ $100,001-$500,000                     D   $50 ,000,001-$100 million                D   $10,000,000,001-$50 billion
                                        D   $500,001-$1 million                 D   $100,000 ,001-$500 million               D   More than $50 billion
l@Q        sign ee1ow

                                        I have examined this petition , and I declare under penalty of perjury that the information provided is true and
 For you                                correct.
                                        If I have chosen to file under Chapter 7, I am aware that I may proceed , if eligible, under Chapter 7, 11 ,12, or 13
                                        of title 11 , United States Code . I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                        I request relief in accordance with the chapter of title 11 , United States Code , specified in this petition .

                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankruptcy case can result in fines up to $250 ,000, or imprisonment for up to 20 years , or both .
                                        18 U.S.C. §§ 152, 1341 , 1519, and 3571 .

                                        le ls/Stanley H. Thompson         _/"0, 1f ~
                                            Signature of Debtor 1                                              Signature of Debtor 2

                                            Executed on 04/05/2019                                             Executed on
                                                        MM I DD / YYYY                                                       MM I DD     / YYYY


  Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
           Case 19-50486                  Doc 1          Filed 04/12/19            Entered 04/12/19 15:49:22                         Page 7 of 64
Debtor 1      Stanley H. Thompson                                                                   Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
             First Name   Midd le Name              Last Name




                                         I, the attorney for the debtor(s) named in this petition , declare that I have informed the debtor(s) about eligibility
For your attorney, if you are            to proceed under Chapter 7, 11 , 12, or 13 of title 11 , United States Code, and have explained the relief
represented by one                       available under each chapter for wh ich the person is eligible. I also certify that I have delivered to the debtor(s)
                                         the notice required by 11 U.S.C. § 342(b) and , in a case in which§ 707(b)(4)(D) applies , certify that I have no
If you are not represented               knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.


                                         x,,,~
by an attorney, you do not
need to file this page.
                                                                                                              Date           04/05/2019
                                             Signature of Attorney for Debtor                                                MM       DD / YYYY




                                             Mark M. Kratter
                                             Printed name

                                             Law Offices of Mark M. Kratter, LLC
                                             Firm name

                                             71 East Avenue, Suite K
                                             Number      Street




                                             Norwalk                                                         CT              06851
                                             -C-ity--------------------~S-ta-te--~ZIPCode




                                             Contact phone      (203) 853-2312                               Email address   laws4ct@aol.com



                                             ct13005                                                         CT
                                             Bar number                                                      State




  Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
                 Case 19-50486                   Doc 1             Filed 04/12/19             Entered 04/12/19 15:49:22              Page 8 of 64
Fill in this information to identify your case and this filing:


Debtor 1          Stanley                       H.                           Thompson
                     First Name                  Middle Name                   Last Name


Debtor 2
(Spouse, if filing ) First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the: _D_is_t_ri_c_t_o_f_C_o_n_n_e_c_ti_c_u_t_ _ _ _ _ _ _ __

Case number
                                                                                                                                               0   C heck if th is is an
                                                                                                                                                   amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form . On the top of any addit ional pages,
write your name and case number (if known). Answer every question.

                Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    D     No. Go to Part 2.
    !XI   Yes . Where is the property?
                                                                       What is the property? Check all that apply.
                                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                       !XI    Single-family home                         the amount of any secured claims on Schedule o.·
       1.1.   162 Strawberry Hill Avenue                               D      Duplex or multi-unit building
                                                                                                                         Creditors Who Have Claims Secured by Property.
              Street address, if available, or other description
                                                                       D      Condominium or cooperative                 Current value of the      Current value of the
                                                                       D      Manufactured or mobile home                entire property?          portion you own?
                                                                       0      Land                                       $390,000. 00              $390,000.00
                                                                       D      Investment property
              Norwalk                          CT     06651
              City                            State      ZIP Code
                                                                       0      Timeshare                                  Describe the nature of your ownership
                                                                       D      Other _ _ _ _ _ _ _ _ _ _ _ __             interest (such as fee simple, tenancy by
                                                                                                                         the entireties, or a life estate), if known .
                                                                       Who has an interest in the property? Check one.
                                                                                                                         Fee Simple Ownership
              Fairfield
                                                                       !XI Debtor 1 only
              County                                                   D Debtor 2 only
                                                                       D Debtor 1 and Debtor 2 only                      D   Check if this is community property
                                                                                                                             (see instru ct ions)
                                                                       D At least one of the debtors and another
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number: - - - - - - - - - - - - - - -
     If you own or have more than one, list here:
                                                                      What is the property? Check all that apply.
                                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                      D      Single-family home                          the amount of any secured cl aims on Schedule D:
       1.2.                                                                                                              Creditors Who Have Claims Secured by Property.
              Street address, if available, or other description
                                                                      D      Duplex or multi-unit building
                                                                      0      Condominium or cooperative                  Current value of the      Current value of the
                                                                      D      Manufactured or mobile home                 entire property?          portion you own?
                                                                      0      Land                                        $                         $ _ _ _ _ _ _ __
                                                                      D      Investment property
                                                                      0      Timeshare                                   Describe the nature of your ownership
              City                            State      ZIP Code                                                        interest (such as fee simple, tenancy by
                                                                      D      Other _ _ _ _ __ __ _ _ _ __
                                                                                                                         the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Check one.
                                                                      D   Debtor 1 only
              County                                                  D   Debtor 2 only
                                                                      D   Debtor 1 and Debtor 2 only                     0   Check if this is commun ity property
                                                                      D   At least one of the debtors and another            (see instructions)

                                                                      Other information you wish to add about this item , such as local
                                                                      property identification number: - - - - - - - - - - - - - -


    Official Form 106NB                                                Schedule A/B: Property                                                              page 1
Debtor 1      Case        H.
               Stanley19-50486                     Doc 1Thompson
                                                           Filed 04/12/19                              Case number (if known) _ _ _ __ _ _ _ _ _ _ _ _ __
                                                                                             Entered 04/12/19    15:49:22 Page 9 of 64
               First Name         Middle Name            Last Name




                                                                     What is the property? Check all that apply.        Do not deduct secured cla ims or exemptions. Put
                                                                     D     Single-family home                           the amount of any secured claims on Schedule D:
    1.3.                                                                                                                Creditors Who Have Claims Secured by Property.
           Street address , if available, or other description       0     Duplex or multi-unit building
                                                                     0     Condominium or cooperative                   Current value of the      Current value of the
                                                                                                                        entire property?          portion you own?
                                                                     0     Manufactured or mobile home
                                                                                                                        $ _ _ _ _ _ _ __          $_ _ _ _ _ _ _ _
                                                                     D     Land
                                                                     D     Investment property
                                                                                                                        Describe the nature of your ownership
           City                                 State   ZIP Code     0     Timeshare
                                                                                                                        interest (such as fee simple, tenancy by
                                                                     D     Other _ _ _ _ _ _ _ _ _ _ _ __               the entireties, or a life estate), if known.

                                                                     Who has an interest in the property? Check one.
                                                                     D     Debtor 1 only
           County
                                                                     0     Debtor 2 only
                                                                     0     Debtor 1 and Debtor 2 only                   D   Check if this is community property
                                                                                                                            (see instructions)
                                                                     D     At least one of the debtors and another

                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number: - - - - - - - - - - - - - -




F§fj         Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle , also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks , tractors, sport utility vehicles, motorcycles
   D   No
   Ii) Yes


    3.1.    Ma ke:                       Ford                        Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
                                                                                                                        the amount of any secured claims on Schedule D:
            Model :                      Focus                       Iii   Debtor 1 only
                                                                                                                        Creditors Who Have Claims Secured by Property.

                                         2001
                                                                     D Debtor 2 only
            Year:                                                                                                       Current value of the       Current value of the
                                                                     D     Debtor 1 and Debtor 2 only
            Approxi mate mileage: 144000                                                                                entire property?           portion you own?
                                                                     0     At least one of the debtors and another
            Other information:
                                                                      0    Check if this is community property (see
                                                                                                                        $400.00                    $400.00
                                                                           instructions)



   If you own or have more than one, describe here:

    3.2.   Make:                         Chrysler                    Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
                                                                     IXI   Debtor 1 only                                the amount of any secured claims on Schedule 0:
           Model:                        Voyager                                                                        Creditors Who Have Claims Secured by Property.
                                         2002
                                                                     D     Debtor 2 only
            Year:
                                                                     D     Debtor 1 and Debtor 2 only                   Current value of the       Current value of the
           Approxim ate mileage:         60000                                                                          entire property?           portion you own?
                                                                     D     At least one of the debtors and another
           Other information:
                                                                      D    Check if this is community property (see
                                                                                                                        $1 ,000.00                 $1 ,000.00
                                                                           instructions)




Official Form 106A/B                                                  Schedule A/B: Property                                                               page 2
Debtor 1          Case
                   Stanley  19-50486
                   First Name
                                 H.
                                 Middle Name
                                             Doc 1Thompson
                                                        Filed 04/12/19
                                                  Last Name
                                                                                                      Entered 04/12/19   15:49:22
                                                                                                                Case number                   Page 10 of 64
                                                                                                                            c;r known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                            Who has an interest in the property? Check one.                         Do not deduct secured claims or exemptions. Put
     3.3.    Make:
                                                                                                                                                    the amount of any secured claims on Schedule D:
             Model :                                                        0    Debtor 1 only                                                      Creditors Who Have Claims Secured by Property.
                                                                            0    Debtor 2 only
             Year:                                                                                                                                  Current value of the             Current value of the
                                                                            0    Debtor 1 and Debtor 2 only
                                                                                                                                                    entire property?                 portion you own?
             Approximate mileage:                                           0    At least one of the debtors and another
             Other information :
                                                                                                                                                    $. _ _ _ _ _ __                  $ _ _ _ _ _ _ __
                                                                             0   Check if this is community property (see
             [________________ I                                                 instructions)


     3.4.    Make:                                                          Who has an interest in the property? Check one.                         Do not deduct secured cla ims or exemptions. Put
                                                                                                                                                    the amount of any secured claims on Schedule D:
             Model :                                                         0   Debtor 1 only                                                      Creditors Who Have Claims Secured by Property.
                                                                             0   Debtor 2 only
              Year:                                                                                                                                 Current value of the             Current value of the
                                                                             0   Debtor 1 and Debtor 2 only
                                                                                                                                                    entire property?                 portion you own?
             Approxim ate mileage:                                           0   At least one of the debtors and another
              Other information :
                                                                                                                                                    $_ _ _ _ _ __                    $_ _ _ _ _ __
                                                                             0   Check if this is community property (see
                                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
    Examples: Boats , trailers, motors, personal watercraft, fishing vessels , snowmobiles, motorcycle accessories
    Iii     No
    0       Yes


     4.1.     Make :                                                        Who has an interest in the property? Check one.                         Do not deduct secured claims or exemptions. Put
                                                                                                                                                    the amount of any secured cla ims on Schedule D:
              Model :                                                        0   Debtor 1 only
                                                                                                                                                     Creditors Who Have Claims Secured by Property.
                                                                             0   Debtor 2 only
              Year:
                                                                             0   Debtor 1 and Debtor 2 only                                          Current value of the            Current value of the
              Other information :                                            0   At least one of the debtors and another                             entire property?                portion you own?


                                                                             0   Check if this is community property (see                            $_ _ _ _ _ __                   $. _ _ _ _ _ _ __
                                                                                 instructions)



    If you own or have more than one , list here:

     4.2.     Make:                                                         Who has an interest in the property? Check one.                          Do not deduct secured claims or exemptions. Put
                                                                             0   Debtor 1 only                                                       the amount of any secured claims on Schedule D:
              Model :                                                                                                                                Creditors Who Have Claims Secured by Property.
                                                                             0   Debtor 2 only
              Year:                                                                                                                                  Current value of the
                                                                             0   Debtor 1 and Debtor 2 only                                                                          Current value of the
              Other information :                                                                                                                    entire property?                portion you own?
                                                                             0   At least one of the debtors and another

                                                                                                                                                     $_ _ _ _ _ __                   $ _ _ _ _ _ _ __
                                                                             0   Check if this is community property (see
                                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   you have attached for Part 2. Write that number here ................................................................. .. ...............................................   -+   ~1 ,400.00



Official Form 106A/B                                                         Schedule A/B: Property
                                                                                                                                                                                            page 3
Debtor 1         Case  19-50486
                  Stanley   H.
                    First Name           Middle Name
                                                         Doc 1 Thompson
                                                                 Filed 04/12/19
                                                                   Last Name
                                                                                                                    Entered 04/12/19    15:49:22
                                                                                                                               Case number                Page 11 of 64
                                                                                                                                           Ufknown) _ _ _ _ _ _ _ _ _ _ _ _ _ __




                 Describe Your Personal and Household Items

                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                portion you own?
                                                                                                                                                                 Do not deduct secured clai ms
                                                                                                                                                                 or exemptions .
6. Household goods and furnishings
      Examples: Major appliances, furniture , linens, china , kitchenware
      0     No
      Ii) Yes. Describe ......... ·Household goods electronics and furnishings ; Wearing apparel                                                                   $3 ,500.00

7. Electronics
      Examples: Televisions and radios ; audio , video , stereo, and digital equipment; computers , printers, scanners; music
                collections ; electronic devices including cell phones, cameras , media players, games
      Iii   No
      0     Yes. Describe ..                                                                                                                                       $ _ _ _ _ _ _ _ __


s. Collectibles of value
      Examples: Antiques and figurines ; paintings , prints , or other artwork; books , pictures, or other art objects;
                stamp, coin , or baseball card collections; other collections, memorabilia, collectibles
      Iii No                   ___,, ________                                                          ,,            ·--  ___ ____                -
      0     Yes. Describe ...... .. ..                                                                                                                             $_ _ _ _ _ _ _ __

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables , golf clubs , skis ; canoes
                and kayaks ; carpentry tools; musical instruments
      Iii   No
      0     Yes. Describe.


10. Firearms
      Examples: Pistols , rifles , shotguns, ammunition , and related equipment
      Iii   No
      D     Yes. Describe ..                                                                                                                                       $ _ _ _ _ _ _ __

11    Clothes
      Examples: Everyday clothes, fu rs, leather coats, designer wear, shoes , accessories
      Iii   No                                             ...... --                 ............................
      0     Yes. Describe .                                                                                                                                        $_ _ _ _ _ _ __
                                           ---------------------------·
12.Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings , wedding rings , heirloom jewelry, watches, gems,
                gold , silver
      Ila   No
      D     Yes. Describe.                                                                                                                                         $_ _ _ _ _ _ _ _ ~

13. Non-farm animals
      Examples: Dogs , cats, birds, horses
      [ii No
      D   Yes . Describe .                                                                                                                                         $_ _ _ _ _ _ __

14.   Any other personal and household items you did not already list, including any health aids you did not list

      Ila   No
                                                                       -------
      D     Yes. Give specific
                                                 .   -     - ...                                                     ----------
                                                                                                                                                                   $ _ _ _ _ _ _ _ _~
            information
                                         ------------
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                     s3,500.00
    for Part 3. Write that number here .                                                                                                               . ... ~



 Official Form 106A/B                                                          Schedule A/B: Property                                                                           page 4
Debtor 1        Case
                 Stanley  19-50486
                 First Name
                               H.
                               Middle Name
                                             Doc 1Thompson
                                                        Filed 04/12/19
                                                  Last Name
                                                                                     Entered 04/12/19   15:49:22
                                                                                               Case number                   Page 12 of 64
                                                                                                            (if known), _ _ _ _ _ _ _ _ _ _ _ _ _ __




F§fi           Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                           Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured claims
                                                                                                                                      or exemptions.

16. Cash
   Examples: Money you have in your wallet, in your home , in a safe deposit box, and on hand when you file your petition

   D No
   Iii    Yes .                                                                                               Cash :                   $200.00



17 . Deposits of money
   Examples: Checking , savings, or other financial accounts ; certificates of deposit; shares in credit unions , brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution , list each .

   D      No
   Iii    Yes                                                    Institution name:


                                17.1. Checking account:          Peoples United Bank Checking and Savings                               $10.00

                                17.2. Checking account:          MSCU Checking and Savings                                              $150.00

                                17.3. Savings account:                                                                                  $_ _ _ _ _ _ _ _

                                17.4. Savings account:                                                                                  $_ _ _ _ _ _ __

                                17.5. Certificates of deposit:                                                                          $ _ _ _ _ _ _ _ __

                                17.6. Other financial account:                                                                          $ _ _ _ _ _ _ __

                                17.7. Other financial account:                                                                          $ _ _ _ _ _ _ _ __

                                17.8. Other financial account:                                                                          $ _ _ _ _ _ _ __

                                17.9. Other financial account:                                                                          $_ _ _ _ _ _ __




18 . Bonds,     mutual funds, or publicly traded stocks
   Examples: Bond funds , investment accounts with brokerage firms , money market accounts
    Iii   No
    D     Yes ..                Institution or issuer name:

                                                                                                                                        $ _ _ _ _ _ _ __
                                                                                                                                        $_ _ _ _ _ _ _ _
                                                                                                                                        $ _ _ _ _ _ __




 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

    D     No                    Name of entity:                                                                % of ownership:
    Iii   Yes. Give specific    Inf Pulse, LLC                                                                1_0_ _ _ %                $100.00
          information about
          them ..                                                                                              _ _ _ _ _%               $_ _ _ _ _ _ _ _
                                                                                                               _ _ _ _ _%               $ _ _ _ _ _ _ __




 Official Form 106A/B                                            Schedule A/B: Property                                                             page 5
Debtor 1        Case  19-50486
                 Stanley   H.
                      First Name    Middle Name
                                                   Doc 1Last  Filed 04/12/19
                                                        Thompson
                                                             Name
                                                                                                Entered 04/12/19   15:49:22
                                                                                                          Case number (if         Page 13 of 64
                                                                                                                       known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




20 . Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks , cashiers' checks , promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   Iii    No
   0      Yes. Give specific         Issuer name:
          information about
                                                                                                                                          $ _ _ _ _ _ _ __
          them .
                                                                                                                                          $_ _ _ _ _ _ _ _
                                                                                                                                          $_ _ _ _ _ _ __


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh , 401 (k), 403(b) , thrift savings accounts, or other pension or profit-sharing plans

   Iii    No
   0      Yes. List each
          account separately. . Type of account:                  Institution name :

                                     401 (k)   or similar plan:                                                                           $_ _ _ _ _ _ _ __

                                     Pension plan :                                                                                       $ _ _ _ _ _ _ _ __

                                     IRA:                                                                                                 $_ _ _ _ _ _ __

                                     Retirement account:                                                                                  $ _ _ _ _ _ _ _ __

                                     Keogh:                                                                                               $_ _ _ _ _ _ _ __

                                     Additional account:                                                                                  $_ _ _ _ _ _ _ __

                                     Additional account:                                                                                  $ _ _ _ _ _ _ _ __



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent , public utilities (electric, gas, water) , telecommunications
   companies , or others

   Iii    No
   0      Yes ..                                             Institution name or individual :

                                     Electric:
                                                                                                                                          $~~~~~~~~
                                     Gas:                                                                                                 $_ _ _ _ _ _ _ _ _
                                     Heating oil:
                                                                                                                                          $~~~~~~~~
                                     Security deposit on rental unit:-- - - - - - - - - - - - - - - - - - - - - - - - -                   $_ _ _ _ _ _ _ _ _
                                     Prepaid rent:                                                                                        $ _ _ _ _ _ _ _ __
                                     Telephone:                                                                                           $ _ _ _ _ _ _ _ __

                                     Water:                                                                                               $_ _ _ _ _ _ _ _ _
                                     Rented furn iture:                                                                                   $_ _ _ _ _ _ _ __
                                     Other:                                                                                               $ _ _ _ _ _ _ _ __



23 . Annuities        (A contract for a periodic payment of money to you , either for life or for a number of years)

    fXI    No
    0      Yes .. .                  Issuer name and description :
                                                                                                                                          $ _ _ _ _ _ __
                                                                                                                                          $ _ _ _ _ _ _ _ __
                                                                                                                                          $ _ _ _ _ _ _ _ __


 Official Form 106A/B                                                      Schedule A/B : Property                                                  page 6
Debtor 1          Case  19-50486
                   Stanley   H.
                             Midd le Name
                     First Name
                                          Doc 1 Last Filed 04/12/19
                                                Thompson
                                                     Name
                                                                                                                                                   Entered 04/12/19    15:49:22
                                                                                                                                                              Case number               Page
                                                                                                                                                                          Wknownl _ _ _ _ ___14
                                                                                                                                                                                              __of_64
                                                                                                                                                                                                   _ _ _ __




24 . Interests in an education IRA, in an account in a qualified ABLE program , or under a qualified state tuition program .
      26 U.S.C. §§ 530(b)( 1), 529A(b), and 529(b)(1 ).

      Iii   No
      D     Yes                                Institution name and description . Separately file the records of any interests.11 U.S.C. § 521 (c):

                                                                                                                                                                                                  $ _ _ _ _ _ _ __
                                                                                                                                                                                                  $_ _ _ _ _ _ __
                                                                                                                                                                                                  $_ _ _ _ _ _ __


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
      exercisable for your benefit

      liJ   No
      D     Yes . Give specific
            information about them ..                                                                                                                                                             $ _ _ _ _ _ _ __
                                                      •••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••• ••• ,.,,.,..,n,..,nn,,,,,,n




26 . Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, webs ites, proceeds from royalties and licensing agreements
      Iii   No
      0     Yes. Give specific         ,.........
            information about them ...                                                                                                                                                           ' $ _ _ _ _ __


27 . Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

      Iii   No
      D     Yes. Give specific
            information about them .                                                                                                                                                              $_ _ _ _ _ _ _ _


Money or property owed to you?                                                                                                                                                                     Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.

28. Tax refunds owed to you
      Iii   No
      D     Yes. Give specific information
                                                                                                                                                                           Federal:              $ _ _ _ _ _ _ __
                 about them , including whether
                 you already filed the returns                                                                                                                             State:                $_ _ _ _ _ _ __
                 and the tax years.      .............. .
                                                                                                                                                                           Local:                $_ _ _ _ _ _ _ _


29. Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      !XI   No
      D     Yes. Give specific information ..
                                                                                                                                                                          Ali mony:               $ _ _ _ _ _ _ __
                                                                                                                                                                          Maintenance:            $_ _ _ _ _ _ __
                                                                                                                                                                          Support:                 $. _ _ _ _ _ _ __

                                                                                                                                                                          Divorce settlement:     $._ _ _ _ _ _ __
                                                                                                                                                                          Property settlement:    $ _ _ _ _ _ _ __

30.   Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits , sick pay, vacation pay, workers ' compensation ,
                Social Security benefits ; unpaid loans you made to someone else
      !XI   No
      D     Yes. Give specific information.
                                                                                                                                                                                                  $_ _ _ _ _ _ _ __



Official Form 106A/B                                                                                       Schedule A/B : Property                                                                           pag e 7
Debtor 1        Case
                 Stanley  19-50486
                 First Name
                               H.
                               Middle Name
                                           Doc 1 Last  Filed 04/12/19
                                                 Thompson
                                                      Name
                                                                                                                                   Entered 04/12/19   15:49:22
                                                                                                                                             Case number                  Page 15 of 64
                                                                                                                                                         (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __




31 Interests in insurance policies
   Examples: Health , disability, or life insurance; health savings account (HSA) ; credit, homeowner's, or renter's insurance

   Iii    No
   0      Yes. Name the insurance company                                        Company name:                                                     Beneficiary:                                   Surrender or refund value:
               of each policy and list its value ..
                                                                                                                                                                                                  $ _ _ _ _ _ _ __
                                                                                                                                                                                                  $_ _ _ _ __
                                                                                                                                                                                                  $_ _ _ _ _ _ _ _ _

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died .
   Iii    No
                                                                               .------ ---------------
   0      Yes. Give specific information .                 ............. I                                                                                                                        $ _ _ _ _ _ _ _ __



33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents , employment disputes, insurance claims , or rights to sue
   Iii     No
   D       Yes . Describe each claim ..
                                                                                                                                                                                                   $_ _ __ _ _ _ __


34 . Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   Iii     No
    0      Yes. Describe each claim ...... ........ ......... 1
                                                                              ~-·----•••••·--••-                             . •-----·--••·---------- . w_.,_______ -- •                           $ _ _ _ _ _ _ _ __




35 . Any   financial assets you did not already list

   Iii     No
   D       Yes. Give specific information . .                                                                                                                                                      $_ _ _ _ _ _ _ __



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here .                                                                                                                           . .....................   -+     $460.00




                  Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37 . Do you own or have any legal or equitable interest in any business-related property?

    Iii    No . Go to Part 6.
    0      Yes. Go to line 38.

                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                 or exemptions.
38. Accounts receivable or commissions you already earned

    IXI    No                      ,................. ___ ___ -
                                                  ,,,,,,      ,,,   .. ....   ·-··---.................................
                                                                                                                     ,_,_,


    D      Yes.
                                                                                                                                                                                                 $_ _ _ _ _ _ _ _ _

39. Office equipment, furnishings , and supplies
   Examples: Business-related computers, software, modems, printers, copiers , fax machines, rugs , telephones, desks, chairs, electronic devices
    IXI    No
    D      Yes. Describe                                                                                                                                                                         $_ _ _ _ _ _ _ _ _
                                                                                                                                               -------
 Official Form 106A/B                                                                                        Schedule A/B : Property                                                                          page 8
Debtor 1          Case
                   Stanley  19-50486
                   First Name
                                 H.
                                 Middle Name
                                             Doc 1Thompson
                                                        Filed 04/12/19
                                                  Last Na me
                                                                                 Entered 04/12/19   15:49:22
                                                                                           Case number (;(known). _ _ _ _Page
                                                                                                                          _ _ _16
                                                                                                                               __ of_64
                                                                                                                                     _ _ _ __




40 . Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   ~ No
   D         Yes. Describe                                                                                                                                $ _ _ _ _ _ _ _ _~



41 . Inventory
       ~ No
       0     Yes. Describe ..
                                                                                                                                                          $_ __ __ _ _ __



42 . Interests     in partnerships or joint ventures
       !XI   No
       0     Yes. Describe ..      Name of entity:                                                                        % of ownership :
                                                                                                                          _ _ _%                          $ _ _ _ _ _ _ _ _ __
                                                                                                                          _ _ _%                          $ _ _ _ _ _ _ _ _ __
                                                                                                                          _ _ _%                          $_ _ _ _ _ _ _ _ _ _


43 . Customer lists, mailing lists , or other compilations
       ~ No
       0     Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41 A)) ?
                  ~ No
                  0 Yes. Describe ..                                                                                                                       $_ _ _ _ _ _ _ _ _


44 . Any business-related property you did not already list
       ~ No
       0 Yes. Give specific                                                                                                                                $ _ _ _ _ _ _ _ _~
         information .....
                                                                                                                                                           $_ _ _ _ _ _ _ _ ~

                                                                                                                                                           $_ _ _ _ _ _ _ _~

                                                                                                                                                           $_ _ _ _ _ _ _ _ ~
                                                                                                                                                           $_ _ _ _ _ _ _ __
                                                                                                                                                           $_ _ _ _ _ _ _ _ _

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .                                                           . ............................................. ~
                                                                                                                                                          I$0.00

                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                   If you own or have an interest in farmland , list it in Part 1.


46. Do       you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       !XI   No. Go to Part 7.
       D     Yes. Go to line 47.

                                                                                                                                                          Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured claims
                                                                                                                                                          or exemptions.
47 .   Farm animals
       Examples: Livestock, poultry, farm-raised fish
       IXJ   No
       D
                                                                                                                                                            $_ _ _ _ _ _ _ _ _



 Official Form 106A/B                                           Schedule A/B: Property                                                                                 page 9
Debtor 1       Case  19-50486
                Stanley   H.
                          Middle Name
                   First Name
                                      Doc 1Thompson
                                              Filed 04/12/19
                                                     Last Name
                                                                                               Entered 04/12/19   15:49:22
                                                                                                         Case number                                                         Page 17 of 64
                                                                                                                                                (if known), _ _ _ _ _ _ _ _ _ _ __                         _   _




48 . Crops-either growing or harvested

   ~ No
   D     Yes. Give specific
         information.                                                                                                                                                                       $._ _ _ _ _ __


4 9 . Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   Iii   No
   D     Yes
                                                                                                                                                                                            $_ _ _ _ _ _ _ _

50. Farm and fishing supplies, chemicals, and feed

   Iii   No
   D     Yes ..
                                                                                                                                                                                            $. _ _ _ _ _ _ __


51. Any farm- and commercial fishing-related property you did not already list
   Iii   No
   0     Yes. Give specific
         information .                                                                                                                                                                      $_ _ _ _ _ _ __

52 . Add the dollar value of all of your entries from Part                    6, including any entries for pages you have attached                                                         $0.00
   for Part 6. Write that number here .                                                                                                                   . .................... ~          --------




                  Describe All Property You Own or Have an Interest in That You Did Not List Above

53 . Do you have other property of any kind you did not already list?


   Iii   No
                                              .  _____
   Examples: Season tickets , country club membership
                                                                 ,.,...   ~    ---------
                                                                                                                                                                                             $ _ _ _ _ _ __
   D     Yes. Give specific ,
         information . .    ·                                                                                                                                                                $ _ _ _ _ _ __

                                                                                                                                                                                             $_ _ _ _ _ __
                                --- -------------
54. Add the dollar value of all of your entries from Part 7. Write that number here                                   ........................................................... ~
                                                                                                                                                                                             $_ _ _ _ __




F§f:F             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ..                                                             ····································································· ··········· ~    $390,000.00

56. Part 2: Total vehicles, line 5                                                           $1.400.00

57 . Part 3: Total personal and household items, line                15                      $3,500.00

58. Part 4: Total financial assets, line 36                                                  $460.00

59. Part 5: Total business-related property, line 45                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                $0.00

61 . Part 7: Total other property not listed, line 54                                    +$0.00

62. Total personal property. Add lines 56 through 61 ........ ... ...... ..              r- ~~~;~~--~; . ·-· -
                                                                                         L
                                                                                                                               Copy personal property total                         ~      + $5,360.00
                                                                                                                                                                                              --------




63. Total of all property on Schedule A/B. Add line 55 + line 62 . .. ........ ... ... .                                                                                                    $395,360.00


 Official Form 106A/B                                                     Schedule A/B: Property                                                                                                         page 10
                Case 19-50486           Doc 1             Filed 04/12/19            Entered 04/12/19 15:49:22                   Page 18 of 64
 Fill in this information to identify your case:

 Debtor 1          Stanley H . Thompson
                     First Name            Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing ) First Name            Middle Name                 Last Name


 Un ited States Bankruptcy Court for the: District of Connecticut

 Ca se number                                                                                                                                 0   Check if this is an
  (If known )
                                                                                                                                                  amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                 04/19

Be as complete and accurate as possible . If two married people are filing together, both are equally responsible for supplying correct information .
Using the property you listed on Schedule AIB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed , fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any add itional pages , write
your name and case number (if known) .

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions- such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


                  Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      1J1   You are claiming state and federa l nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      D     You are claiming federal exe mptions. 11 U.S.C. § 522(b)(2)



 2. For any property you list on Schedule AIB that you claim as exempt, fill in the information below.


        Brief description of the property and line on       Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
        Schedule AJB that lists this property               portion you own
                                                            Copy the value from      Check only one box for each exemption .
                                                            Schedule AIB

       Brief         162 Strawberry Hill Avenue                                                                            CGS § 52-352b(t)
       description :                                        $390,000.00              IXl $ 61 ,000.00
       Line from
                        ------------                                                 D   100% of fair market value , up to
       Schedule AIB:           1.0                                                       any applicable statutory limit    ---------------

       Brief         Household goods electronics                                                                           CGS § 52-352b(a)
       description : and furnishings
                                                            $3,000.00                1X1 $ 3,ooo.oo
       Line from                                                                     D 100% of fair market value , up to
       Schedule AIB:           6                                                         any applicable statutory limit    ---------------

       Brief        Wearing apparel                                                                                        CGS § 52-352b(a)
       description:                                         $500.00                  IXI $ 500.oo
       Lin e from - - - -- - - - - - - -                                             D   100% of fair market value , up to
       Schedule AIB:           6                                                         any applicable statutory limit    ---------------


 3. Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01 /22 and every 3 years after that for cases filed on or after the date of adjustment.)
      IJI   No
      D     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            D      No
            D      Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                               page 1 of _3....
Debtor 1      Case  19-50486
               Stanley H. Thompson Doc 1               Filed 04/12/19                    Entered 04/12/19    15:49:22
                                                                                                    Case number                 Page
                                                                                                                (ifknown) _ _ _ _ ___19
                                                                                                                                      _ of
                                                                                                                                        __ 64
                                                                                                                                            _ _ __
                First Name           Middle Name   Last Name




f §fl Additional Page
      Brief description of the property and line           Current value of the           Amount of the exemption you claim            Specific laws that allow exemption
      on Schedule AIB that lists this property             portion you own

                                                           Copy the value from            Check only one box for each exemption
                                                           Schedule AIB
                    Cash                                                                                                           CGS § 52-352b{r)
      Brief
      description :
                                                               $200.00                     IX)$ 200.00
                     -----------                                                           0   100% of fair market value , up to
      Line from
      Schedule NB:           16                                                                any applicable statutory limit      --------------
      Brief         See Attachment 1                                                                                               CGS § 52-352b(r)
                                                               $10.00                      1X1 $ 10.00
      description : - - - - - - - - - - -
      Line from
                                                                                           0   100% of fair market value , up to - - - - - - - - - - - - - -
      Schedule NB: 17 _1                                                                       any applicable statutory limit


      Brief         2001 Ford Focus with 144000                                                                                    CGS § 52-352b( r)
      description : miles.                                     $_4_0_0-'.0'-'0'-------     !XI$ 400.00
      Line from
                                                                                           0   100% of fair market value, up to
                                                                                               any applicable statutory limit   --------------
      Schedule NB:           3.1
                                                                                                                                   CGS § 52-352bU)
      Brief         2002 Chrysler Voyager with
                                                               $1.000.00                   IX) $ 1,000.00
      description : 60000 miles.
      Line from                                                                            0   100% of fa ir market value, up to - - - - - - - - - - - - - -
      Schedule NB:           3 ·2                                                              any applicable statutory limit

      Brief         Checking Account with MSCU                                                                                     CGS § 52-352b(r)
      description : Checking and Savings
                                                               $150.00                     IX) $ 150.00
      Line from
                                                                                           0   100% of fai r market value , up to - - - - - - - - - - - - - -
                                                                                               any applicable statutory limit
      Schedule AIB:
                             17 _2
      Brief         10% interest in Inf Pulse, LLC                                                                                 CGS § 52-352b(r)
      description :                                            $100.00                     1X1 $ 1oo.oo
      Line from
                     -----------                                                           0 100% of fair market value, up to
                                                                                               any applicable statutory limit      --------------
      Schedule NB:           19

      Brief
      description : _ _ _ _ _ _ _ _ _ __
                                                               $ _ _ _ _ _ __              0$ _ _ __
      Line from                                                                            0 100% of fair market value, up to      --------------
      Schedule NB:                                                                             any applicable statutory limit

      Brief
      description :
                                                               $_ _ _ _ _ __               0$ _ _ _ __
      Line from
                      -----------                                                          0   100% of fair market value , up to - - - - - - - - - - - - - -
      Schedule NB:                                                                             any applicable statutory limit


      Brief
      description :
                                                               $_ _ _ _ _ __               0$ _ _ __
      Line from
                      -----------                                                          0   100% of fair market value, up to
      Schedule AIB:                                                                            any applicable statutory limit   --------------

      Brief
      description :
                                                               $_ _ _ _ _ __               0$ _ _ __
      Line from
                      -----------                                                          0   100% of fair market value , up to - - - - - - - - - - - - - -
      Schedule AJB:                                                                            any applicable statutory limit

      Brief
      description :
                                                               $ _ _ _ _ _ __              0$ _ _ _ __
      Line from      -----------                                                           D 100% of fair market value, up to      --------------
      Schedule NB:                                                                             any applicable statutory limit

      Brief
      description :
                                                               $ _ _ _ _ _ __              0$ _ _ _ __
      Line from - - - - - - - - - - -                                                      D 100% of fair market value, up to
      Schedule NB:                                                                             any applicable statutory limit      --------------


Official Form 106C                                        Schedule C : The Property You Claim as Exempt                                                 page _2_ of 2_
         Case 19-50486          Doc 1      Filed 04/12/19            Entered 04/12/19 15:49:22   Page 20 of 64

                                              Attachment
                                  Debtor: Stanley H. Thompson Case No:


Attachment 1
    Checking Account with Peoples United Bank Checking and Savings
                       Case 19-50486                                 Doc 1                 Filed 04/12/19                             Entered 04/12/19 15:49:22                                   Page 21 of 64
    Fill in this information to identify your case:


    Debtor 1              Stanley H . Thompson
                            First Name                                  Middle Name                               Last Name

    Debtor 2
    (Spouse, if filing ) First Name                                     Middle Name                               Last Name


    United States Bankruptcy Court for the: "'D__is:...;t"-'ri..:.c.:...t..:.o_f..:.C...;;o_n_n--"e-"c---ti..:.c.:...ut.:.___ _ _ _ _ _ __

    Case number
       (If known)                                                                                                                                                                                           D   Check if this is an
                                                                                                                                                                                                                amended filing


    Official Form 1060
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                                               12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed , copy the Additional Page, fill it out, number the entries, and attach it to this form . On the top of any
    additional pages, write your name and case number (if known).


       1. Do any creditors have claims secured by your property?
             0       No. Check this box and submit this form to the court with your other schedules . You have nothing else to report on this form .
             Iii     Yes. Fill in all of the information below.


i@ll                     List All Secured Claims
                                                                                                                                                                           Column A                 Column B               Column C
       2. List all secured claims. If a creditor has more than one secured claim , list the creditor separately                                                            Amount of claim          Value of collateral    Unsecured
          for each claim . If more than one creditor has a particular claim , list the other creditors in Part 2.                                                          Do not deduct the        that supports this     portion
          As much as possible, list the claims in alphabetical order according to the creditor's name.                                                                     value of collateral.     claim                  If any

m
·            Bank of America                                                            Describe the property that secures the claim:                                      $208,000.00                 $390 ,000.00       $0. 00
             Creditor's Name
                                                                                         ingle Family Residence
             ATTN: Collection Agent
              Number              Street

                                                                                        As of the date you file, the claim is: Check all that apply.
             PO Box 15019
                                                                                        D      Contingent
             Sioux Falls                              DE         19885                  D      Unliquidated
              City                                      State      ZIP Code
                                                                                        D      Disputed
          Who owes the debt? Check one.                                                 Nature of lien. Check all that apply.
          l:il   Debtor 1 only                                                          l:il   An agreement you made (such as mortgage or secured
          D      Debtor 2 only                                                                 car loan)
          D      Debtor 1 and Debtor 2 only                                             D      Statutory lien (such as tax lien, mechanic's lien)
          D      At least one of the debtors and another                                D      Judgment lien from a lawsuit
                                                                                        D      Other (including a right to offset) _ _ _ _ _ _ __
          D      Check if this claim relates to a
                 community debt
          D;.:a::;te:...:d.::
                          e::.bt::..w
                                    :.:.;:
                                       as:::..:;in~c:.:u:.:.r,:.;re:,:d:.....:;5;:;/;;:
                                                                                    1 /:;;2:::0:::0::4i:::::::=--_..:;::
                                                                                                                    Last 4 digits of account number _Q_   4      5     5
i i.21 Select Portfolio Servicing                                                       Describe the property that secures the claim:
                                                                                                                                                              .,,..   ·-~--.

                                                                                                                                                                           $134,000.00                 $ 350,000. 00      $ 0.00
              Creditor's Name
                                                                                         ingle Family Residence
             ATTN : Collection Agent
              Number              Street

                                                                                        As of the date you file, the claim is : Check all that apply.
             PO Box65250
                                                                                        D Contingent
             Salt Lake city                           UT        84165                   D Unliquidated
              City                                      State      ZIP Code
                                                                                        0 Disputed
          Who owes the debt? Check one.                                                 Nature of lien. Check all that apply.
          IXI    Debtor 1 only                                                          1X1 An agreement you made (such as mortgage or secured
          0      Debtor 2 on ly                                                                car loan)
          D      Debtor 1 and Debtor 2 only                                             D      Statutory lien (such as tax lien, mechanic's lien)
          D      At least one of the debtors and another                                D      Judgment lien from a lawsuit
                                                                                        D      Other (including a right to offset) -- - - - - - -
         0       Check if this claim relates to a
                 community debt
;...      Date debt was incurred 6-1-2001                                               Last 4 digits of account number 4                                 4      4     2
              ~~~ ~~~~~11~~~~1~~ of your entries
i                                                                              in Column A on this page. Write that number here:·-..-..-...""F_3_4_2_,-0 0
                                                                                                                                                         -0- .-00 -
                                                                                                                                                                                                   I
        Official Form 1060                                                Schedule D: Creditors Who Have Claims Secured by Property                                                                               page 1 of_1_
 Fill in thisCase   19-50486
              information              Doccase
                          to identify your  1:                 Filed 04/12/19            Entered 04/12/19 15:49:22                            Page 22 of 64
 Debtor 1            Stanley                H.                          Thompson
                      First Name                Middle Name               Last Name

 Debtor 2
 (Spouse, if filing) First Name                  Middle Name              Last Name


 United States Bankruptcy Court for the: =D~is~t~ri~c~t~o~f~C~o~n~n~e=ct=ic=u=t~---------

 Case number
                                                                                                                                                          0   Check if this is an
 (If known)                                                                                                                                                   amended filin g


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
AJB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

                   List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
      IXI     No. Go to Part 2.
      0       Yes.
   2.List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim , list the creditor separately for each claim . For
     each claim listed , identify what type of cla im it is. If a claim has both priority and nonpriority amounts, list that claim here and show both prio rity and
     nonpriority amounts. As much as possible, list the claims in alphabetical order according to the cred itor's name. If you have more than two priority
     unsecured claims , fill out the Continuation Page of Part 1. If more than one cred itor holds a particular claim , list the other creditors in Part 3.
      (For an explanation of each type of claim , see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim       Priority         Non priority
                                                                                                                                                          amount           amount

                                                                    Last 4 digits of account number _         ___               $                     $               $
         Priority Creditor's Name

                                                                    When was the debt incurred?
         Number             Street

                                                                    As of the date you file, the claim is : Check all that apply.

         City                           State       ZIP Code
                                                                    0   Contingent
                                                                    0   Unliquidated
         Who incurred the debt? Check one.
                                                                    0   Disputed
         0 Debtor 1 only
         0 Debtor 2 only                                            Type of PRIORITY unsecured claim :
         0 Debtor 1 and Debtor 2 only                               0   Domestic support obligations
         0 At least one of the debtors and another                  0   Taxes and certai n other debts you owe the government
          D     Check if this claim is for a community debt         D   Claims for death or personal injury while you were
         Is the claim subject to offset?                                intoxicated
         0 No                                                       0   Other. Specify
         0 Yes
122 1- -                                                            Last 4 digits of account number _ _ _ _                         $                 $                $
         =P~
          r io
             - r i~ty~C~r-ed~
                            i t-
                               o r~
                                  . s~N~a-
                                         m-e-----------~

                                                                    When was the debt incurred?
          Number            Street
                                                                    As of the date you file, the claim is: Check all that apply.
                                                                    D   Contingent
         City                           State       ZIP Code        0   Unliquidated
         Who incurred the debt? Check one.                          0   Disputed
         0 Debtor 1 only
                                                                    Type of PRIORITY unsecured claim :
         0 Debtor 2 only
         0 Debtor 1 and Debtor 2 only                               0   Domestic support obligations
         0 At least one of the debtors and another                  0   Taxes and certa in other debts you owe the government

          0     Check if this claim is for a community debt
                                                                    0   Claims for death or personal injury whi le you were
                                                                        intoxicated
         Is the claim subject to offset?                            D   Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ __
         0 No
         0 Yes

Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of_±__
Debtor 1                 Stanley                       H.                     Thompson                             Case number (if known), _ _ __    _ _ _ _ _ _ _ _ _ __                 _

                  Case 19-50486
                            Middle Name Doc 1
                         First Name                                       Filed 04/12/19
                                                                  Last Name                   Entered 04/12/19 15:49:22                             Page 23 of 64
                        List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      D        No . You have nothing to report in this part. Submit this form to the court with your other schedules .
      1iJ Yes
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim . If a creditor has more than one
     priority unsecured cla im , list the creditor separately for each claim . For each cla im listed , identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim , list the other creditors in Part 3. If you have more than four prio rity unsecured claims
     fil l out the Continuation Page of Part 2.

                                                                                                                                                                            Total claim

E2:J   Chase
       Nonpriority Creditor's Name
                                                                                              Last 4 digits of account number         JL    ...!._ ..]_ .2_
                                                                                                                                                                          $23,000.00
                                                                                              When was the debt incurred?             1/1/2017
       ATTN : Collection Agent PO Box 1423
       Number                         Street

       Charlotte                                             NC           28201
       City                                                       State           ZIP Code    As of the date you file , the claim is : Check all that apply.

                                                                                              D     Contingent
       Who incurred the debt? Check one.                                                      D     Unliquidated
           Iii    Debtor 1 only                                                               D     Disputed
           0      Debtor 2 only
           0      Debtor 1 and Debtor 2 only                                                  Type of NONPRIORITY unsecured claim :
           D      At least one of the debtors and another                                     D     Stude nt loans
           0      Check if this claim is for a community debt                                 D     Obligations arising out of a separation agreement or divorce
                                                                                                    that you did not report as priority claims
           Is the claim subject to offset?                                                    0     Debts to pension or profi t-sharing plans, and other simi lar debts
           Iii    No                                                                          D     Other. Specify _ __ _ _ _ __ _ __ _ _ __ _
           D      Yes


EJ ~iCards Nonpriority Creditor's Name
                                                                                              Last 4 digits of account number
                                                                                              When was the debt incurred?
                                                                                                                                       J!... ..1_   ~
                                                                                                                                       _1_/1_/_1_7_ __
                                                                                                                                                         L                $1 7 ,000.00


           Attn : Collection Agent P.O. Box 701 66
           Number                     Street
                                                                                              As of the date you file , the claim is : Check all that apply.
           Philadelphia                                      TX           19176
           City                                                   State           ZI P Code
                                                                                              D     Contingent
           Who incurred the debt? Check one.                                                  D     Unliquidated
           IXI    Debtor 1 only                                                               D     Disputed
           D      Debtor 2 only
           D      Debtor 1 and Debtor 2 only                                                  Type of NONPRIORITY unsecured claim :
           D      At least one of the debtors and another                                     D     Student loans
                                                                                              D     Oblig ations arising out of a separation agreement or divorce
           D      Check if this claim is for a community debt                                       that you did not report as priority claims
           Is the claim subject to offset?                                                    D     Debts to pension or profit-sharing pla ns, and other similar debts
           IXI    No                                                                          Iii   Other. Specify Credit Card Charges
           D      Yes

~          C it iCards
           ~N"'
              on
               .,-p
                  ...,
                    r i,...
                        ar"'it-
                              y ~Cr
                                  - e-.di,-    ,..,Na
                                         to-.r'-
                                               s    _m_e_ __ __ _ _ _ _ _ _ _ _ _ _ _ __      Last 4 digits of account number          _§__ _1_     ~    J!...            $7,400.00
                                                                                              When was the debt incurred?              1/1/2017
           Attn : Collecion Agent P.O . Box 900006
           Number                      Street

           Louisville                                        KY           40290
           City
                                                                                              As of the date you file, the claim is : Check all that apply.
                                                                  State           ZIP Code

           Who incurred the debt? Check one.
                                                                                              l:l Contingent
                                                                                              D     Unliquidated
           IXI    Debtor 1 only
                                                                                              D     Disputed
           D      Debtor 2 only
           D      Debtor 1 and Debtor 2 only
                                                                                              Type of NONPRIORITY unsecured claim :
           D      At least one of the debtors and another
                                                                                              D     Student loa ns
           D      Check if this claim is for a community debt                                 D     Oblig ations arising out of a sepa ration agreement or divorce
           Is the claim subject to offset?                                                          that yo u did not report as priority clai ms
           IXI No                                                                             D     Debts to pension or profit-sharing plans, and other similar debts
           l:l Yes                                                                            D     Other. Specify _ __ _ _ _ _ _ _ _ _ _ _ _ __




  Official Form 106E/F                                               Schedule E/F : Creditors Who Have Unsecured Claims                                                         page ~ of _i._
Debtor 1           Stanley                H.                      Thompson                               Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              Case      19-50486
               First Name    Middle Name Doc 1 Last Name
                                                    Filed 04/12/19                Entered 04/12/19 15:49:22                            Page 24 of 64
               Your NONPRIORITY Unsecured Claims -Continuation Page


After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                         Total claim



                                                                                   Last 4 digits of account number          _1_ _]__ _Q_ __§__                 $2, 300.00
      Synchrony Bank
      Nonpriority Creditor's Name
                                                                                   When was the debt incurred?              _1'-
                                                                                                                              /1-'/-_17'----
      Attn : Collection Agent P.O. Box          960013
      Number           Street
                                                                                   As of the date you file, the claim is : Check all that apply.
      Orlando                                  DE              32896
      City                                             State           ZIP Code    0      Contingent
                                                                                   D      Unliquidated
      Who incurred the debt? Check one.                                            D      Disputed
      IXl    Debtor 1 only
      D      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim :
      0      Debtor 1 and Debtor 2 only
                                                                                    D     Student loans
      D      At least one of the debtors and another                                0     Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      0      Check if this claim is for a community debt
                                                                                    0     Debts to pension or profit-sharing plans, and other simi lar debts
      Is the claim subject to offset?                                               IXl   Other. SpecifyCredit Card Charges
      IXl    No
      D      Yes


                                                                                                                           --
~
               ·-------------------------------~-


      Webster Bank
                                                                                    Last 4 digits of account number         ..!_ _1_ __§__ _1_                 $4,500.00
      Nonpriority Creditor's Name
                                                                                   When was the debt incurred?              1/1/2017
      ATTN: Collection Agent P.O. Box              6335
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Fargo                                     UT             58125
      City                                             State           ZIP Code     D     Contingent
                                                                                    Cl Unliquidated
      Who incurred the debt? Check one.
                                                                                    D     Disputed
      W Debtor 1 only
      D      Debtor 2 only                                                          Type of NONPRIORITY unsecured claim :
      D      Debtor 1 and Debtor 2 only
                                                                                    D     Student loans
      D      At least one of the debtors and another
                                                                                    D     Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                                    D     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               IXl   Other. SpecifyCredit Card Charges
      IXl    No
      D      Yes

                                                                        ----------··--------~~. --~-- ---~
                                                                                                                                                               $ _ _ _ __
                                                                                    Last 4 digits of account number _ _ _ _
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?
      Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      City                                             State           ZIP Code     D     Contingent
                                                                                    0     Unliquidated
      Who incurred the debt? Check one.
                                                                                    D     Disputed
      Q Debtor 1 only
      D Debtor 2 only                                                               Type of NONPRIORITY unsecured claim :
      D      Debtor 1 and Debtor 2 only
                                                                                    D     Student loans
      D      At least one of the debtors and another
                                                                                    D     Obligations arising out of a separation agreement or divorce that
      D      Check if this claim is for a community debt                                  you did not report as priority claims
                                                                                    D     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               0     Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
      D      No
      D      Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   page~of ~
Debtor 1       Stanley             H.                     Thompson                            Case nu mber   Ut known>_ _ _ _ __   _ _ _ _ _ _ __   _
           Case      19-50486
            First Name    Middle Name
                                      Doc 1 Last NaFiled
                                                    me
                                                         04/12/19            Entered 04/12/19 15:49:22                     Page 25 of 64
           Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S .C. §159.
   Add the amounts for each type of unsecured claim .




                                                                                        Total claim


                6a . Domestic support obligations                              6a .
Total claims                                                                             $
from Part 1
                6b . Taxes and certain other debts you owe the
                     government                                                6b.       $

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.
                                                                                         $

                6d . Other. Add all other priority unsecured claims.
                     Write that amount here .                                  6d .    + $




                6e . Total. Add lines 6a through 6d .                           6e.
                                                                                         $


                                                                                         Total claim


                6f. Student loans                                               6f.
Total claims                                                                             $0.00
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                      6g .     $0.00
                6h . Debts to pension or profit-sharing plans, and other
                     similar debts                                              6h .     $0.00

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                     6i .   + $ 23 ,800.00

                6j . Total. Add lines 6f through 6L                             6j .
                                                                                          $23 ,800.00




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                      page .±_ of_!_
               Case 19-50486                Doc 1            Filed 04/12/19          Entered 04/12/19 15:49:22                     Page 26 of 64

 Fill in this information to identify your case:


 Debtor                Stanley H. Thompson
                       First Name              Middle Name               Last Name

 Debtor 2
 (Spouse If filing )   First Name              Middle Name               Last Name


 United States Bankruptcy Court for the   District of Connecticut

 Case number
 (If known )                                                                                                                                 D    Check if this is an
                                                                                                                                                  amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      IXl     No . Check this box and fi le this form with the court with your other schedules . You have nothing else to report on this form .
      0       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AIB: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases .

      Person or company with whom you have the contract or lease                                   State what the contract or lease is for

2.1
       Name


       Number             Street


       City                                State      ZIP Code

2.2
       Name


       Number             Street


       City                                State      ZIP Code
2.3

       Name


       Number             Street


       City                                State      ZIP Code

2.4
       Name


       Number             Street


       City                                State      ZIP Code
2.5
       Name


       Number             Street


       City                                State      ZIP Code



Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of _1_
                 Case 19-50486                    Doc 1              Filed 04/12/19             Entered 04/12/19 15:49:22          Page 27 of 64
 Fill in this information to identify your case:


 Debtor 1            Stanley H. Thompson
                      First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse, if fili ng) First Name                       Middle Name                  Last Name


 Un ited States Ban kruptcy Court for the: District         of Connecticut

 Case number
  (If known )
                                                                                                                                                0   Check if this is an
                                                                                                                                                    amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                    12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages , write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case , do not list either spouse as a codebtor.)
      Iii    No
      D      Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona , California , Idaho , Louisiana , Nevada , New Mexico , Puerto Rico , Texas, Washington , and W isconsin .)
      Iii    No . Go to line 3.
      D      Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
             D No
             D      Yes. In which community state or territory did you live? - - - - - - - -· Fill in the name and current address of that person .


                    Name of your spouse, former spouse, or legal equivalent



                    Number            Street



                    City                                             State                       ZIP Code


' 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule EIF (Official Form 106EIF), or Schedule G (Official Form 1OGG). Use Schedule D,
      Schedule EIF, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                               Column 2: The creditor to whom you owe the debt

                                                                                                              Check all schedules that apply:

EiJ         Na me                                                                                             D   Schedule D, line _ __
                                                                                                              D   Schedule E/F, line ___
            Number           Street
                                                                                                              D   Schedule G, line _ __

            City                                                         State                    ZIP Code

§]                                                                                                            D   Schedule D, line ___
            Name
                                                                                                              D   Schedule E/F, line ___
            Number           Street
                                                                                                              D   Schedule G, line ___

          City                                                           State                    Z IP Code

§]                                                                                                            D   Schedule D, line ___
          Name

                                                                                                              D   Schedule E/F, line ___
          Number             Street
                                                                                                              D   Schedule G, line ___

          City                                                           S\ate                    Z IP Code

Official Form 106H                                                               Schedule H: Your Codebtors                                           page 1 of _1_
              Case 19-50486               Doc 1           Filed 04/12/19           Entered 04/12/19 15:49:22                          Page 28 of 64
 Fill in this information to identify your case :


 Debtor 1           Stanley H. Thompson
                     First Name             Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name              Last Name


 United States Bankruptcy Court tor the: _ _ _ _ _D_i_s_tr_i_c_t_o_f_C_o_n_n_e_c_ti_c_u_t______

 Case number                                                                                                Check if this is:
 (If known)
                                                                                                            D   An amended filing
                                                                                                            D   A supplement showing post-petition
                                                                                                                chapter 13 income as of the following date:
Official Form 1061                                                                                              MM I DD / YYYY

Schedule I: Your Income                                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form . On the top of any additional pages, write your name and case number (if known). Answer every question.


flfl                 Describe Employment


 1. Fill in your employment
    information.                                                             Debtor 1                                           Debtor 2 or non-filing spouse

        If you have more than one job ,
        attach a separate page with
        information about additional       Employment status              IXI    Employed                                       Iii   Employed
        employers.                                                        D      Not employed                                   D     Not employed
        Include part-time. seasonal, or
        self-employed work.
                                           Occupation                   Retired                                           Web Design
        Occupation may Include student
        or homemaker, if it applies.
                                           Employer's name                                                                 Info Pulse, LLC

                                           Employer's address                                                             162 Strawberry Hill Avenue
                                                                         Number      Street                                Number        Street




                                                                        CT 06851                                          Norwalk, CT 06851
                                                                         City                   State   ZIP Code           City                      State   ZIP Code

                                           How long employed there?                                                         21 Years


 flfM                Give Details About Monthly Income

        Estimate monthly income as of the date you file this form . If you have nothing to report for any line, write $0 in the space . Include your non-filing
        spouse unless you are separated.
        If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
        below. If you need more space, attach a separate sheet to this form .

                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                            non-filing spouse
   2. List monthly gross wages, salary, and commissions (before all payroll
         deductions). If not paid monthly, calculate what the monthly wage wou ld be.           2.                               $0.00
                                                                                                        $0.00

   3. Estimate and list monthly overtime pay.                                                   3.   +$0.00                + $0.00

   4.    Calculate gross income. Add line 2 + line 3.                                           4.      $0.00
                                                                                                                       II        $0.00



Official Form 1061                                                Schedule I: Your Income                                                                    page 1
                Case 19-50486                 Doc 1           Filed 04/12/19                       Entered 04/12/19 15:49:22                          Page 29 of 64
Debtor 1          Stanley H. Thompson                                                                                        Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name    Middle Name             Last Name



                                                                                                                             For Debtor 1       For Debtor 2 or
                                                                                                                                                non-filin s ouse

     Copy line 4 here .                       ................................................................ -+ 4.         $0.00                 $0.00

  5. List all payroll deductions:

      5a . Tax, Medicare, and Social Security deductions                                                         5a .        $0.00                 $150.00
      5b. Mandatory contributions for retirement plans                                                           5b.         $0.00                 $0.00
      5c. Voluntary contributions for retirement plans                                                           5c.         $0.00                 $0.00
      5d . Required repayments of retirement fund loans                                                          5d .        $0.00                 $0.00
      5e . Insurance                                                                                             5e .        $0.00                 $0.00
      5f. Domestic support obligations                                                                           5f.         $0.00                 $0.00

      5g. Union dues                                                                                             5g .        $0.00                 $0.00

      5h . Other deductions. Specify:                                                                            5h .    +$0.00                 + $0.00

   6. Add the payroll deductions . Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                6.         $0.00                 $150.00

   7. Calculate total monthly take-home pay. Subtract line                    6 from line 4.                      7.         $0.00                 $-150.00

   8 . List all other income regularly received:

       Ba . Net income from rental property and from operating a business,
            profession, or farm
               Attach a statement for each property and business showing gross
               receipts , ordinary and necessary business expenses , and the total                                           $0.00                 $1,185.00
               monthly net income .                                                                              Ba .
       Bb. Interest and dividends                                                                                Bb .        $0.00                 $0.00
       Be. Family support payments that you , a non-filing spouse, or a dependent
           regularly receive
               Include alimony, spousal support, child support, maintenance , divorce                                        $0.00                 $0.00
               settlement, and property settlement.                                                              Be.
       Bd . Unemployment compensation                                                                            Bd.         $0.00                 $0.00
       Be . Social Security                                                                                      Be.         $1,034.00             $0.00
       Bf. Other government assistance that you regularly receive
               Include cash assistance and the value (if known) of any non-cash assistance
               that you receive , such as food stamps (benefits under the Supplemental                                       $0.00                 $0.00
               Nutrition Assistance Program) or housing subsidies.
               Specify:                                                                                           Bf.

       Bg . Pension or retirement income                                                                          Bg .       $0.00                 $0.00

       Bh. Other monthly income. Specify: - - - - - - - - - - - - - -                                             Bh .   +$0.00                  +$0.00

    9. Add all other income. Add lines Ba + Bb + Be+ Bd + Be + Bf +Bg + Bh .                                       9.
                                                                                                                         I   $1,034.00
                                                                                                                                            II     $1 ,185.00

  1 o. Calculate monthly income. Add line    7 + line 9.
      Add the entries in line 1O for Debtor 1 and Debtor 2 or non-filing spouse .                                  10    I   $1,034.00
                                                                                                                                            I+ I   $1,035.00             I=   1$2,069.00

   11 . State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household , your dependents , your roommates , and other
      friends o r relative s.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
                                                                                                                                    11 . +
      Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                                       $_o._o_o_ __
   12. Add the amount in the last column of line10 to the amount in line 11. The result is the combined monthly income.
      Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                           12.        1$2,069.00
                                                                                                                                                                              Combined
                                                                                                                                                                              monthly income
    13. Do you expect an increase or decrease within the year after you file this form?
        I.la   No.
        D      Yes. Explain :


   Official Form 1061                                                           Schedule I: Your Income                                                                        page 2
                Case 19-50486              Doc 1            Filed 04/12/19               Entered 04/12/19 15:49:22                       Page 30 of 64
 Fill in this information to identify your case:

 Debtor 1          Stanley H. Thompson
                      First Name              Middle Name                 Last Name                         Check if this is:
 Debtor 2                                                                                                   D   An amended fi ling
 (Spouse, if filing) Fiist Name               Middle Name                 Last Name

                                                                                                            D A supplement showing post-petition chapter 13
 United States Bankruptcy Court for the:                 District of Connecticut                                expenses as of the following date:
 Case number                                                                                                    MM I DD / YYYY
 (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

                      Describe Your Household

1. Is th is a joint case?

      !:xi   No . Go to line 2.
      D      Yes. Does Debtor 2 live in a separate household?

                  D    No
                  D    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?                 Iii   No
                                                                                          Dependent's relationship to                  Dependent's   Does dependent live
      Do not list Debtor 1 and                D     Yes. Fill out this information for    Debtor 1 or Debtor 2                         age           with you?
      Debtor 2.                                     each dependent
      Do not state the depend ents'
                                                                                                                                                     D    No
      names.                                                                                                                                         D    Yes

                                                                                                                                                     D    No
                                                                                                                                                     D    Yes

                                                                                                                                                     D    No
                                                                                                                                                     D    Yes

                                                                                                                                                     D    No
                                                                                                                                                     D    Yes
                                                                                                                                                     0    No
                                                                                                                                                     D    Yes

3. Do your expenses include
      expenses of people other than
                                              Iii   No
      yourself and your dependents?           D     Yes


                  Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is f iled. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 1061.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
    any re nt for the ground or lot.
                                                                                                                                         $2,435.00
                                                                                                                                4.
        If not included in line 4:
        4a.     Real estate taxes                                                                                               4a .     $0.00
        4b.     Property, homeowner's, or renter's insurance                                                                    4b.      $167.00
        4c.     Home maintenance, repa ir, and upkeep expenses                                                                  4c.      $100.00
        4d.     Homeowner's association or condom inium dues                                                                    4d.      $0.00

     Official Form 106J                                           Schedule J: Your Expenses                                                                pag e 1
             Case 19-50486                    Doc 1    Filed 04/12/19          Entered 04/12/19 15:49:22             Page 31 of 64
Debtor 1         Stanley H. Thompson                                                       Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name    Middle Name         Last Name




                                                                                                                     Your expenses

                                                                                                                     $0.00
 5. Additional mortgage payments for your residence , such as home equity loans                              5.

 6. Utilities:
      6a.    Electricity, heat, natural gas                                                                  6a.     $300.00
      6b.    Water, sewer, garbage collection                                                                6b.     $40.00
      6c.    Telephone , cell phone, Internet, satellite, and cable services                                 6c.     $160.00
      6d .   Other. Specify: Cell Phone                                                                      6d .    $0.00

 7. Food and housekeeping supplies                                                                           7.      $750.00

 8. Childcare and children's education costs                                                                 8.      $0.00
 9. Clothing, laundry, and dry cleaning                                                                      9.      $50.00
10. Personal care products and services                                                                      10.     $25.00
11 . Medical and dental expenses                                                                             11 .    $25.00
12. Transportation. Include gas , maintenance, bus or train fare.
                                                                                                                     $300.00
    Do not include car payments.                                                                             12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13.     $200.00
14. Charitable contributions and religious donations                                                         14.     $0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                    15a.    $0.00
      15b. Health insurance                                                                                  15b.    $500.00
      15c. Vehicle insurance                                                                                 15c.    $140.00
      15d. Other insurance. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                      15d.    $0.00

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                    $0.00
                                                                                                             16.

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                        17a.    $0.00
      17b. Car payments for Vehicle 2                                                                        17b.    $0.00
      17c. Other. Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                         17c.    $
      17d. Other. Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                           17d.    $

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5 , Schedule I, Your Income (Official Form 1061).                                         18.   $0.00

19. Other payments you make to support others who do not live with you.
    Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                               19.   $0.00

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                       2Da.    $0.00
      20b. Real estate taxes                                                                                 20b.    $0.00
      20c. Property, homeowner's, or renter's insurance                                                      2Dc.    $0.00
      20d. Maintenance , repair, and upkeep expenses                                                         20d.    $0.00
      2De. Homeowner's association or condominium dues                                                       20e.    $0.00


  Official Form 106J                                           Schedule J: Your Expenses                                              page 2
                 Case 19-50486                   Doc 1    Filed 04/12/19         Entered 04/12/19 15:49:22                           Page 32 of 64
Debtor 1             Stanley H. Thompson                                                          Case number   (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     First Name    Middle Name       Last Name




21 .    Other. Specify: _E_s_ti_m_a_t_e_d_T_a_x_e_s_ _ _ _ _ _ _ _ _ _ _ _ __                                          21 .     +$0_._o_o_ _ _ _ _ __

22.     Calculate your monthly expenses.                                                                                           $5192.00
        22a. Add lines 4 through 21 .                                                                                              $_ _ _ _ _ _ _ _ _
        22b. Copy line 22 (monthly expenses for Debtor 2) , if any, from Official Form 106J-2
        22c. Add line 22a and 22b. The result is your monthly expenses.                                                22 .        $5,192.00
                                                                                                                              ····~···-·········-··------·
                                                                                                                                                              .. . . . _J

23. Calculate your monthly net income.

       23a .     Copy line 12 (your combined monthly income) from Schedule I.                                         23a .
                                                                                                                                      $2 069.00

       23b.      Copy your monthly expenses from line 22 above .                                                      23b .      - $5,192.00

       23c.      Subtract your monthly expenses from you r monthly income .
                                                                                                                                      $-3,123.00
                 The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

        For example, do you expect to finish paying for your car loan within the year or do you expect you r
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       !:ii   No .
       0      Yes.       Explain here:




   Official Form 106J                                            Schedule J : Your Expenses                                                                  page 3
                Case 19-50486                     Doc 1                Filed 04/12/19                            Entered 04/12/19 15:49:22                       Page 33 of 64

  Fill in this information to identify your case:


  Debtor 1              Stanley                        H.                                      Thompson
                         First Name                    Middle Name                             Last Name

  Debtor 2
  (Spouse, if filing)    First Name                    Middle Name                              Last Name


  United States Ban kruptcy Court tor th e:      -=D-'-is"'t""'ri"""ct'-o"-f'-C""'-"o'"""n'"""ne"""c""t""'ic'""u'"'"t________

  Case number                                                                                                                                                                D   Check if this is an
                         (If known)                                                                                                                                              amended filing




 Official Form 106Sum
 Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                   12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
 your original forms, you must fill out a new Summary and check the box at the top of this page.


i§fl             Summarize Your Assets


                                                                                                                                                                          Your assets
                                                                                                                                                                          Value of what you own
 1. Schedule AIB: Property (Official Form 106A/B)
     1a. Copy line 55, Total real estate, from Schedule AIB ..                                                                                                                $ 390,000.00


     1b. Copy line 62, Total personal property, from Schedule AIB                                                                                                             $ 5,360.00

     1c. Copy line 63, Total of all property on Schedule AIB .......... .... ..................... .................. ..... ... .
                                                                                                                                                                              $ 0.00


f §fj            Summarize Your Liabilities



                                                                                                                                                                           Your liabilities
                                                                                                                                                                           Amount you owe
 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1060)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D                                                       $ 342,000.00

 3. Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E!F
                                                                                                                                                                              $ 0.00

     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E!F
                                                                                                                                                                          + $ 54,200.00

                                                                                                                                         Your total liabilities               $ 396,200.00


. , , , Summarize Your Income and Expenses


 4 . Schedule I: Your Income (Official Form 1061)
     Copy your combined monthly income from line 12 of Schedule I                                                                                                             $ 2,069.00

 s. Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22 , Column A, of Schedule J ...... ..... ......... ... ...... .... ..... ..... ... ...... ..... ... ..... .. ...... ...... .       $ 5, 192.00




 Official Form 106Sum                                  Summary of Your Assets and Liabilities and Certain Statistical Information                                                   page 1 of 2
              Case 19-50486                  Doc 1       Filed 04/12/19         Entered 04/12/19 15:49:22                    Page 34 of 64
Debtor 1          Stanley      H.                  Thompson                                      Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name   Middle Name           Last Name




                 Answer These Questions for Administrative and Statistical Records


6. Are you filing for bankruptcy under Chapters             7, 11, or 13?

     D     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Iii   Yes


7.   What kind of debt do you have?

     Iii   Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family , or household purpose ." 11 U S.C. § 101 (8). Fill out lines 8-10 for statistical purposes . 28 U.S.C. § 159.

     D     Your debts are not primarily consumer debts. You have nothing to report on this part of the form . Check this box and submit
           this form to the court with your other schedules.



8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
     Form 122A-1Line11 ; OR, Form 122B Line 11 ; OR, Form 122C-1Line14.                                                                $ 1 000.00




9.   Copy the following special categories of claims from Part 4, line 6 of Schedule EIF:


                                                                                                         Total claim


       From Part 4 on Schedule EIF, copy the following:


     9a. Domestic support obligations (Copy line 6a .)
                                                                                                         i).00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)


     9d. Student loans. (Copy line 6f.)


     9e . Obl igations arising out of a separation agreement or divorce that you did not report as
          priority claims. (Copy line 6g. )                                                              $0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts . (Copy line 6h .)         + $0.00


     9g . Total. Add lines 9a through 9f.                                                                i).00




     Official Form 106Sum                     Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
                  Case 19-50486                 Doc 1         Filed 04/12/19            Entered 04/12/19 15:49:22                       Page 35 of 64
Fill in this information to identify your case :

Debtor 1            Stanley H. Thompson
                    First Name                  Middle Name            Last Name


Debtor 2
(Spouse, if fil ing) First Name                 Middle Name            Last Name


United States Bankruptcy Court for the:      District of Connecticut
Case num ber
 (If known )
                                                                                                                                              0   Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                        12/15

  If two married people are fil ing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341 , 1519, and 3571 .




                      Sign Below



        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        lil    No
        D      Yes. Name of person _ _ _ _ __ _ _ _ _ _ __ __ _ _ _ _ _ . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                   Signature (Offic ia l Fo rm 1 19).




        Under penalty of perjury, I declare that I have read the summary and schedules filed w ith this declaration and
        that they are true and correct.




     X ls/Stanley H. Thompson /b-A.. 11- ~....-=v X
          Sig nature of Debtor 1                                           Signature of Debtor 2


          Date   04/05/2019                                                Date _ __ _ __ _
                  MM /    DD      I   YYYY                                         MM / DD I   YYYY




  Official Form 106Dec                                          Declaration About an Individual Debtor's Schedules                                     page 1
              Case 19-50486                 Doc 1           Filed 04/12/19           Entered 04/12/19 15:49:22            Page 36 of 64

 Fill in this information to identify your case:


 Debtor 1           Stanley                   H.                       Thompson
                      First Name              Middle Name                Last Name

 Debtor 2             Kristin                 L.                       Strizver
 (Spouse, if filing) First Nam e              Middle Name                Last Name


 United States Bankruptcy Court for the: District of Connecticut

 Case number
 (If known)                                                                                                                        D   Check if this is an
                                                                                                                                       amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                  04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


                   Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?

       !XI   Married
       0     Not married


 2. During the last 3 years, have you lived anywhere other than where you live now?
      !XI    No
      0      Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

              Debtor 1:                                           Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                                  lived there                                                           lived there


                                                                                       D   Same as Debtor 1                            D   Same as Debtor 1

                                                                  From     ---                                                             From
                  Number           Street                                                  Number Street                                          ---
                                                                  To       ---                                                             To



               City                         State ZIP Code                                 City                 State ZIP Code

                                                                                       D   Same as Debtor 1                            D   Same as Debtor 1

                                                                  From                                                                     From
               Number              Street                                                  Number Street
                                                                  To                                                                       To



               City                         State ZIP Code                                 City                 State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
    and territories include Arizona , California , Idaho , Louisiana, Nevada , New Mexico, Puerto Rico, Texas, Washington , and Wisconsin .)
      129    No
      D      Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 1
             Case 19-50486                      Doc 1       Filed 04/12/19                   Entered 04/12/19 15:49:22                          Page 37 of 64
Debtor 1         Stanley H. Thompson                                                                          Case number (ff known)_ _ _ _ _ _ _ _ _ _ __        _ _ __
                 First Name       Middle Name           Last Name




f§fj           Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activ ities.
    If you are fi ling a joint case and you have income that you receive together, list it only once under Debtor 1.

     D No
     ~ Yes. Fill in the details.

                                                               Debtor 1                                                 Debtor 2

                                                               Sources of income              Gross income              Sources of income            Gross income
                                                               Check all that apply.          (before deductions and    Check all that apply.        (before deductions and
                                                                                              exclusions)                                            exclusions)

             From January 1 of current year until
                                                                !XI   Wages, commissions,                               0   Wages, commissions ,
                                                                      bonuses, ti ps           $4.200.00                    bonuses, tips            $ _ _ _ _ _ _ __
             the date you filed for bankruptcy:
                                                                D     Operating a business                              0   Operati ng a business


             For last calendar year:
                                                                !XI   Wages, commission s,                              0   Wages, commissions,
                                                                      bonuses, tips            $12,352.00                   bonuses, tips            $ _ _ _ _ _ _ __
             (January 1 to De cember 31, 2018
                                                yyyy
                                                                D     Operating a business                              0   Operating a business



             For the calendar year before that:
                                                                !XI   Wages, commissions,                               0   Wages , commissions,
                                                                      bonuses, tips                                         bonuses, tips
                                                                                               $12,000.00                                            $_ _ __ _ _ _ _
             (January 1 to December 31, 2017
                                                yyyy
                                                                D     Operating a business                              0   Operating a business



  5. Did you receive any other income during this year or the two previous calendar years?
     Include inco me regardless of whether that income is taxable. Examples of other income are alimony; ch ild support; Social Secu rity, unemployment,
     and other public benefit payments ; pensions; rental income ; interest; dividends ; money collected from lawsu its ; royalties; and gambling and lottery
     w innings . If you are fil ing a joint case and you have income that you received together, list it on ly once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4 .

      D No
      !XI   Yes . Fill in the details.

                                                                Debtor 1                                                 Debtor 2

                                                                Sources of income              Gross income from         Sources of income            Gross income from
                                                                Describe below.                each source               Describe below.              each source
                                                                                               (before deductions and                                 (before deductions and
                                                                                               exclusions)                                            exclusions)


              From January 1 of current year until                                            $4 ,000.00                                             $_ _ _ _ _ __ _
              the date you filed for bankruptcy:
                                                                                              $_ _ _ _ _ _ _ _ - - - - - - - - - - $ _ _ _ _ _ _ __
                                                                                              $________ ----------                                   $_ _ _ _ _ _ __


              For last calendar year:                                                        $14,000.00                                              $_ _ _ _ _ _ _
              (Jan uary 1 to December 31, 2018          )                                    $ _ _ _ _ _ _ __                                        $ _ _ _ _ _ __ _
                                                yyyy
                                                                                             $ _ _ _ _ _ _ __                                        $ _ _ _ _ __



              For the calendar year before that:                                             $15,023.00                                              $ _ _ __ _ _ __
              (J anuary 1 to Dece mber 31, 2017         )                                    $_ _ _ _ _ _ _ _                                        $ _ _ __ _ _ __
                                                yyyy
                                                                                             $_ _ _ _ _ __                                           $ _ _ _ _ _ _ __



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 2
            Case 19-50486                       Doc 1       Filed 04/12/19          Entered 04/12/19 15:49:22                   Page 38 of 64
Debtor 1       Stanley H. Thompson                                                                   Case number (it known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
               First Name         Middle Name           Last Name




              List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1 's or Debtor 2's debts primarily consumer debts?

     0     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
               "incurred by an individual primarily for a personal , family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               D      No. Go to line 7.

               0      Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations , such as
                           child support and alimony. Also , do not include payments to an attorney for th is bankruptcy case .
               * Subject to adjustment on 4/01 /22 and every 3 years after that for cases filed on or after the date of adjustment.

     !!I   Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you fi led for bankruptcy , did you pay any cred itor a total of $600 or more?

                !!I   No . Go to line 7.

                D     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           credito r. Do not include payments for domestic support obligations, such as child support and
                           alimony. Also , do not include payments to an attorney for this bankruptcy case.


                                                                         Dates of     Total amount paid        Amount you still owe   Was this payment for ...
                                                                         payment

                                                                                       $_ _ _ _ _ _ __ $_ _ _ _ _ _ __
                                                                                                                                      D Mortgage
                       Creditor's Name
                                                                                                                                      'Dear

                       Number     Street                                                                                              D Credit card

                                                                                                                                      D Loan repa yment

                                                                                                                                      D Suppliers or vendors

                                                                                                                                      D Other
                       City                     S<ate        ZIP Code                                                                           - -- - -


                                                                                       $_ _ _ _ _ _ _ $_ _ _ _ _ _ __
                                                                                                                                      D Mortgage
                       Creditor's Name
                                                                                                                                      D ear

                       Num ber    Street                                                                                              D Credit card

                                                                                                                                      D Loan repayment

                                                                                                                                      D Suppliers or vendors

                       City
                                                                                                                                      D Other _ __ _ _
                                                State        ZIP Code




                                                                                       $_ _ _ _ _ _ _ $_ _ _ _ _ _ __
                       Creditor' s N ame
                                                                                                                                      D Mortgage

                                                                                                                                      D ear

                       Number     Street                                                                                              D Credit card

                                                                                                                                      D Loan repayment

                                                                                                                                      D Su ppliers or vendors

                       City                     State        ZIP Code                                                                 D Other _ __ _ _




Official Form 107                                   Statement of Financial Affa irs for Individuals Filing for Bankruptcy                         page 3
             Case 19-50486                           Doc 1        Filed 04/12/19         Entered 04/12/19 15:49:22                     Page 39 of 64
Debtor 1         Stanley H. Thompson                                                                       Case number (irknmvn)_ _ _ _ _ _ _ _ _ _ __ __ __
                     First Name       Middle Nam e            last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives ; any general partners; relatives of any general partners ; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control , or owner of 20% or more of their voting securities ; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101 . Include payments for domestic support obligations ,
     such as child support and alimony.

     Iii    No
     0      Yes . List all payments to an insider.
                                                                             Dates of      Total amount      Amount you still   Reason for this payment
                                                                             payment       paid              owe

                                                                                          $ _ _ _ _ __ $ _ _ _ _ __
             Insider's Name



              Number         Street




              City                                    State   ZIP Code


                                                                                          $_ _ _ __         $ _ _ _ _ __
              Insider's Name


              Number         Street




              City                                    State   ZIP Code


  s. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
      an insider?
      Include payments on debts guaranteed or cos igned by an insider.

      !XI   No
      D     Yes . List all payments that benefited an insider.

                                                                            Dates of        Total amount     Amount you still   Reason for this payment
                                                                            payment         paid             owe
                                                                                                                                Include creditor's name

                                                                                           $_ _ _ _ __ $_ _ _ __
              Insider's Name



              Number         Street




              City                                    State   ZIP Code



                                                                                           $ _ _ _ __        $ _ _ _ __
              Insider's Name



              Number         Street




              City                                    State   ZIP Code



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 4
             Case 19-50486                         Doc 1         Filed 04/12/19            Entered 04/12/19 15:49:22                           Page 40 of 64
Debtor 1        Stanley H. Thompson                                                                             Case number Cit known), _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name           Middle Name            Last Name




                Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions , divorces, collection suits , paternity actions, support or custody modifications,
    and contract disputes .

     00    No
     D     Yes . Fill in the details .
                                                                   Nature of the case                     Court or agency                               Status of the case



            Case title_ _ _ _ _ _ _ _ _ _ __                                                            Court Name
                                                                                                                                                        0   Pending

                                                                                                                                                        0   On appeal

                                                                                                         Number    Street                               0   Concluded

            Case number
                                                                                                         City                 State       ZIP Code




            Case title_ _ _ _ _ _ _ _ _ _ __                                                             Court Name
                                                                                                                                                        0   Pending

                                                                                                                                                        D   On appea l

                                                                                                         Number     Street                              D   Concluded

             Case number
                                                                                                         City                     State   ZIP Code


  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished , attached, seized, or levied?
      Check all that apply and fill in the details below.

      ~ No . Go to line 11 .
      0    Yes . Fill in the information below.

                                                                              Describe the property                                        Date       Value of the property



                                                                                                                                                      $_ _ _ _ __
                  Creditor's Name



                  Number     Street                                           Explain what happened

                                                                              D    Property was repossessed .
                                                                              D    Property was foreclosed .
                                                                              D    Property was garnished .
                   City                             State   ZIP Code          D    Property was attached , seized , or levied .

                                                                              Describe the property                                         Date       Value of the property



                                                                                                                                                       $ _ _ _ _ _ __
                   Creditor's Name



                   Number    Street
                                                                              Explain what happened

                                                                              D    Property was repossessed .
                                                                              0    Property was foreclosed .
                                                                              D    Property was garnished .
                   City                             State   ZIP Code
                                                                              0    Property was attached , seized , or levied .



 Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
              Case 19-50486                     Doc 1          Filed 04/12/19              Entered 04/12/19 15:49:22              Page 41 of 64
Debtor 1           Stanley H. Thompson                                                                    Case number (ifknown). _ _ _ __ _ __ _ _ _ __ _ __
                   First Name     Middle Name             Last Name




 11 . Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?
     5'J    No
     D      Yes. Fill in the details.

                                                                  Describe the action the creditor took                      Date action       Amount
                                                                                                                             was taken
            Creditor's Name


                                                                                                                                               $ _ _ _ _ __
            Number      Street




            City                           State   ZIP Code       Last 4 digits of account number: XXXX- _ _ _ _


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian , or another official?
     5'J    No
     D      Ye s


. , , , List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
      5'J   No
      D     Yes. Fill in the details fo r each gift .


              Gifts with a total value of more than $600              Describe the gifts                                      Dates you gave      Va lue
              per person                                                                                                      the gifts



                                                                                                                                                 $ _ _ _ _ __
            Person to Whom You Gave the Gift


                                                                                                                                                 $ _ _ _ _ __




            City                           State   ZIP Code


            Person's relationship to you


            Gifts with a total value of more than $600                Describe the gifts                                      Dates you gave     Value
            per person                                                                                                        the gifts


                                                                                                                                                 $ _ _ _ _ __
            Person to Whom You Gave the Gift


                                                                                                                                                 $ _ _ __ _ _




            City                           State   ZI P Code


            Person's relationship to you - - - - - -


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 6
                Case 19-50486                         Doc 1        Filed 04/12/19                  Entered 04/12/19 15:49:22                         Page 42 of 64
Debtor 1               Stanley H. Thompson                                                                             Case number Wknown). _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                       First Name       Middle Name           Last Name




    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

       ~ No
       0 Yes . Fill in the details for each gift or contribution .

               Gifts or contributions to charities                   Describe what you contributed                                              Date you            Value
               that total more than $600                                                                                                        contributed



                                                                                                                                                                    $ _ _ _ _ __
              Charity' s Name


                                                                                                                                                                    $ _ _ _ _ __




              City             State      ZIP Code




f§fl                    List Certain Losses


    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire , other disaster,
        or gambling?

       ~ No
       0 Yes. Fill in the details.

               Describe the property you lost and how                     Describe any insurance coverage for the loss                          Date of your loss   Value of property
               the loss occurred                                                                                                                                    lost
                                                                          Include the amount that insurance has paid . List pending insurance
                                                                          claims on line 33 of Schedule AIB: Property.


                                                                                                                                                                     $ _ _ _ _ __




~                                                                                                el~
~§A                  List Certain Payments or Transfers                                     .

    rn w;th;" 1 yea. befora yo" filed fo' ba"kmptcy, d;d yo" o' '"yooe                                 "U"g o" YO"' beh•lf P'Y o' tr.msfe< '"Y p<0perty to '"yooe yo"
1       consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

        0     No
        lXl   Yes. Fill in the details.

                                                                          Description and value of any property transferred                     Date payment or     Amount of payment
                See Attachment 1                                                                                                                transfer was made
                Person Who Was Paid

                71 East Avenue, Suite K
                Number         Street                                                                                                           09/21 /18           $1,462.00


                                                                                                                                                                    $ _ _ _ _ __
                Norwalk CT 06851
                City                          State    ZIP Code

                laws4ct@aol.com
                Email or website address


                Person Who Made the Payment, if Not You



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 7
              Case 19-50486                         Doc 1           Filed 04/12/19              Entered 04/12/19 15:49:22                     Page 43 of 64
Debtor 1             Stanley H. Thompson                                                                          Case number (if known)_ _ _ _ _ __   _ _ _ _ _ _ _ _ __
                     First Name      Middle Nam e               Last Name




                                                                        Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                         transfer was made      payment


             Person Who Was Paid
                                                                                                                                                               $_ _ _ _ __
             Number        Street

                                                                                                                                                               $_ _ _ _ __



             City                         State     ZIP Code




             Email or website address


             Person Who Made the Pa yment, if Not You



 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

        ljl No
        D   Yes. Fill in the details.

                                                                        Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                         transfer was made

             Person Who Was Paid
                                                                                                                                                               $ _ _ _ _ __

              Number        Street
                                                                                                                                                               $_ _ _ _ __


              City                         State     ZIP Code

  18.   Within 2 years before you filed for bankruptcy, did you sell , trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
        Do not include gifts and transfers that you have already listed on this statement.
        ljl No
        D   Yes . Fill in the details.

                                                                        Description and value of property         Describe any property or payments received      Date transfer
                                                                        transferred                               or debts paid in exchange                       was made

             Person Who Received Transfer



             Number         Street




             City                          State    ZIP Code


              Person 's rel ationship to y o u - - - - - -



             Person Who Received Transfer



              Number        Street




             City                          State    ZIP Code

              Person 's relationship to y o u - - - - - -

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
               Case 19-50486                         Doc 1         Filed 04/12/19                Entered 04/12/19 15:49:22                        Page 44 of 64
Debtor 1              Stanley H. Thompson                                                                        Case number (;(known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name       Middle Name            Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     ~ No
     0       Yes . Fill in the details.

                                                                      Description and value of the property transferred                                           Date transfer
                                                                                                                                                                  was made


             Name of trust




                  List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking , savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     IXJ     No
     0       Yes. Fill in the details.

                                                                          Last 4 digits of account number   Type of account or          Date account was        Last balance before
                                                                                                            instrument                  closed , sold, moved,   closing or transfer
                                                                                                                                        or transferred

              Name of Financial Institution
                                                                          XXXX-_ _ _ _                      0   Checking                                        $ _ _ _ __

               Number        Street
                                                                                                            0   Savings
                                                                                                            0   Money market
                                                                                                            0   Brokerage
               City                         State    ZIP Code                                               Oother_ _ __


                                                                          xxxx-_ _ _ _                      0   Checking                                        $ _ _ _ __
               Name of Financial Institution
                                                                                                            0   Savings

               Number         Street                                                                        0   Money market
                                                                                                            0   Brokerage
                                                                                                            Oother_ _ __
               City                          State   ZIP Code


  21 . Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
       securities, cash, or other valuables?
      i:!I   No
      0      Yes. Fill in the details.
                                                                          Who else had access to it?                      Describe the contents                         Do you still
                                                                                                                                                                        have it?

                                                                                                                                                                        IXJ   No
               Name of Financial Institution                              Name
                                                                                                                                                                        0     Yes


               Number         Street                                      Number   Street



                                                                          City       State     ZIP Cod e
               City                          State    ZIP Cod e



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 9
                Case 19-50486                      Doc 1           Filed 04/12/19                   Entered 04/12/19 15:49:22                             Page 45 of 64
Debtor 1             Stanley H. Thompson                                                                                     Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     First Name      Middle Name              Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    Iii No
      0     Yes. Fill in the details.
                                                                     Who else has or had access to it?                            Describe the contents                   Do you still
                                                                                                                                                                          have it?

                                                                                                                                                                           0No
              Name of Storage Facility                               Name                                                                                                  0Yes

              Nu mber       Street                                   Number     Street



                                                                      City State ZIP Code

              City                        State    ZIP Code



                       Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
      liJ    No
      0      Yes. Fill in the details.
                                                                     Where is the property?                                       Describe the property                Value



              Own er's Name                                                                                                                                            $ _ _ _ __

                                                                    Number    Street
              Number        Street




                                                                    City                            S tat e    ZIP C o d e
              City                        State    ZIP Cod e


                        Give Details About Environmental Information

  For the purpose of Part 10, the following definitions apply:
  •   Environmental law means any federal , state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes, or material into the air, land, soil , surface water, groundwater, or other medium ,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  •   Site means any location , facility, or property as defined under any environmental law, whether you now own , operate, or utilize
      it or used to own, operate, or utilize it, including disposal sites.

  •   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases , and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      IXI    Nci
      0      Yes. Fill in the details.
                                                                      Governmental unit                               Environmental law, if you know it               Date of notice



             Name of site                                            Government al unit


              Number       Street                                    Number    Street


                                                                     City                   State   ZIP Code



              City                       State     ZIP Code



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
               Case 19-50486                         Doc 1          Filed 04/12/19                      Entered 04/12/19 15:49:22                           Page 46 of 64
Debtor 1              Stanley H. Thompson                                                                                    Case number   Ufknown) _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name       Middle Name              last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     IXI   No
     0     Yes. Fill in the details.
                                                                       Governmental unit                                Environmental law, if you know it                    Date of notice



            Name of site                                              Governmental unit


            Number          Street                                    Number      Street



                                                                      City                   State    ZIP Code


            City                            State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     ~No
     0     Yes. Fill in the details.

                                                                        Court or agency                                      Nature of the case                               Status of the
                                                                                                                                                                              case

           Case title_ _ _ _ _ _ _ _ _ _ _ __

                                                                        Court Name
                                                                                                                                                                              0   Pending

                                                                                                                                                                              0   On appeal

                                                                        Number      Street                                                                                    0   Concluded


           Case number
                                                                        City                         State   ZIP Code


                        Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           0     A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           Iii   A member of a limited liability company (LLC) or limited liability partnership (LLP)
           0     A partner in a partnership
           0     An officer, director, or managing executive of a corporation
           0     An owner of at least 5% of the voting or equity securities of a corporation

     0     No. None of the above applies. Go to Part 12.
     IXI   Yes. Check all that apply above and fill in the details below for each business.
                                                                            Describe the nature of the business                             Employer Identification number
               Info Pulse, LLC                                                                                                              Do not include Social Security number or ITIN.
               Business Name
                                                                       We Design
               162 Strawberry Hill Avenue                                                                                                   EIN:
               Number        Street
                                                                            Name of accountant or bookkeeper                                Dates business existed
                                                                       None
                                                                                                                                            From1 / 1/2000      To _ __
               Norwalk CT 06851
               City                          State    ZIP Code
                                                                            Describe the nature of the business                             Employer Identification number
                                                                                                                                            Do not include Social Security number or !TIN.
               Business Name

                                                                                                                                            EIN :
               Number         Street
                                                                            Name of accountant or bookkeeper                                Dates business existed



                                                                                                                                            From                To _ __
               City                          State    ZIP Code


Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                      page 11
             Case 19-50486                        Doc 1          Filed 04/12/19              Entered 04/12/19 15:49:22                     Page 47 of 64
Debtor 1            Stanley H. Thompson                                                                         Case number c;f known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name      Middle Name              Last Name




                                                                     Describe the nature of the business                     Employer Identification number
                                                                                                                             Do not include Social Security number or ITIN.
             Business Name

                                                                                                                             EIN:

             Number        Street
                                                                     Name of accountant or bookkeeper                        Dates business existed



                                                                                                                             From               To _ __
             City                        State    ZIP Code



             -       -· -------·- -·---------------------------
 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     Iii   No
     0     Yes . Fill in the details below.

                                                                         Date issued




             Name                                                        MM I DDIYYYY



             Number        Street




             City                        State    ZIP Code




. , , , , Sign Below


       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571 .



       Jc is/Stanley H. Thompson /~ 4J ~              )
             Signature of Debtor 1                                                      Signature of Debtor 2


             Date     04/05/2019                                                        Date _ _ _ _ _ __

       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       00     No
       D Yes


       Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       IXI   No
       D     Yes . Name of person
                                         -------------------------                                                    Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                       Declaration, and Signature (Official Form 119).




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
          Case 19-50486             Doc 1   Filed 04/12/19   Entered 04/12/19 15:49:22   Page 48 of 64

                                                 Attachment
                                     Debtor: Stanley H. Thompson Case No:


Attachment 1
    Law Offices of Mark M. Kratter, LLC
                   Case 19-50486               Doc 1         Filed 04/12/19            Entered 04/12/19 15:49:22                    Page 49 of 64
Fill in this information to identify your case:

Debtor 1           Stanley H. Thompson
                    First Name                Middle Name                 Las1 Name

Debtor 2
(Spouse, if fi ling) First Name                Middle Name                Last Name


United States Bankruptcy Court for the: District Of Connecticut
Case number                                                                                                                                       D     Check if this is an
 (If known)                                                                                                                                             amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                                   12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired .
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

                      List Your Creditors Who Hold Secured Claims

     1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 1060), fill in the
        information below.

              Identify the creditor and the property that is collateral               What do you intend to do with the property that       Did you claim the property
                                                                                      secures a debt?                                       as exempt on Schedule C?

           Creditor's                                                                 Iii Surrender the property.                           Iii   No
           name:      Bank of America
                                                                                      0     Retain the property and redeem it.              DYes
           Description of
                                                                                      0     Retain the property and enter into a
           property      s· I F   ·1 R "d
           securing debt: mg e am1 y es1 ence                                               Reaffirmation Agreement.
                                                                                      D     Retain the property and [explain] : _ _ __



           Creditor's                                                                 IXI   Surrender the property.                         liJ   No
           name:      Select Portfolio Servicing
                                                                                      0     Retain the property and redeem it.              0     Yes
           Description of
           property                                                                   0     Retain the property and enter into a
                                                                                            Reaffirmation Agreement.
           securing debt: single Family Residence
                                                                                      0     Retain the property and [explain] : - - - - -



           Creditor's                                                                 0     Surrender the property.                         0     No
           name:
                                                                                      0     Retain the property and redeem it.              0     Yes
           Description of
           property                                                                   0     Retain the property and enter into a
           securing debt:                                                                   Reaffirmation Agreement.
                                                                                      0     Retain the property and [explain]: _ _ __


           Creditor's
           name :
                                                                                      0     Surrender the property.                         0     No
                                                                                      0     Retain the property and redeem it.              0     Yes
           Description of
           property                                                                   0     Retain the property and enter into a
           securing debt:                                                                   Reaffirmation Agreement.
                                                                                      0     Retain the property and [explain]: _ _ _ __



   Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                           page 1
             Case 19-50486                       Doc 1     Filed 04/12/19           Entered 04/12/19 15:49:22                     Page 50 of 64
Your name      Stanley H. Thompson                                                                    Case number   (If known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
               First Name          Middle Name       Last Nam e




                List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended . You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C . § 365(p)(2).

       Describe your unexpired personal property leases                                                                        Will the lease be assumed?

       Lessor's name:                                                                                                         D   No
                                                                                                                              D   Yes
       Description of leased
       property:


       Lessor's name:                                                                                                         D   No
                                                                                                                              D   Yes
       Description of leased
       property:


       Lessor's name:                                                                                                         D   No

       Description of leased                                                                                                  D   Yes
       property:


       Lessor's name:                                                                                                         D   No

                                                                                                                              D   Yes
       Description of leased
       property:


       Lessor's name:                                                                                                         D   No
                                                                                                                              D   Yes
       Description of leased
       property:


       Lessor's name:                                                                                                         D   No
                                                                                                                              D   Yes
       Description of leased
       property:


       Lessor's name:                                                                                                         D   No
                                                                                                                              D   Yes
       Description of leased
       property:




 .,,,Sign Below
     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.



   X    ls/Stanley H. Thompson               M     '11,...- ~      X
       Signature of Debtor 1
                                                                       -Signature
                                                                         - - --       - - - - - - -- - - - - -
                                                                                  of Debtor 2

       Date 04/05/2019                                                  Date
            MM I   DD       I   YYYY                                           _M_M_/_D_D_/_ Y
                                                                                             _YYY
                                                                                               _ __




  Official Form 108                                 Statement of Intention for Individuals Filing Under Chapter 7                               page 2
     Case 19-50486          Doc 1      Filed 04/12/19          Entered 04/12/19 15:49:22                 Page 51 of 64
82030 (Form 2030) ( 12/ 15)




                               United States Bankruptcy Court
                                             DISTRICT OF CONNECTICUT




In re Stanley H. Thompson



Debtor                                                                     Chapter 7_ _ _ _ _ _ _ _ __

                      DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

I.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 20 I 6(b), I certify that I am the attorney for the above
      named debtor(s) and that compensation paid to me within one year before the filing of the petition in
      bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
      contemplation of or in connection with the bankruptcy case is as follows:

      For legal services, I have agreed to accept ................ ... ...........       $_
                                                                                          1~,4_
                                                                                              6_2._
                                                                                                  0_0 _ __


      Prior to the filing of this statement I have received ........................      $_
                                                                                           1,~
                                                                                             4_62
                                                                                                _._
                                                                                                  0_0_   _ _

      Balance Due ............. . ............................. . .. .. . ..... $-"-
                                                                                  0'-=.0--=-0_ _ _ __

2.    The source of the compensation paid to me was:

           D Debtor                   liJ Other (specify)
3.    The source of compensation to be paid to me is:

           [iJ    Debtor              D   Other (specify)

4.         lx:J
              I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

           D   I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a Iist of the names of the
           people sharing in the compensation, is attached.

5.    In return for the above-disclosed fee , I have agreed to render legal service for all aspects of the bankruptcy
      case, including:

      a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

      b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required ;

      c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
     Case 19-50486           Doc 1        Filed 04/12/19           Entered 04/12/19 15:49:22                   Page 52 of 64
82030 (Form 2030) ( 12/ 15)

      d.   Re13reseRtati0R sft1'le Eleetsr iR aElversary 13r0seeEli Rgs aREI 9tR8F S9RtesteEI eaRkFl:l[3tSy matters;

      e.   [Other provis ions as needed]




6.    By agreement with the debtor(s), the above-d isclosed fee does not include the followi ng services:




                                                        CERTIF ICAT ION

               I certify that the foregoing is a complete state ment of any agreement or arrangement fo r payment to
            me for representation of the debtor( s) in this b · uptcy proceed ing.

            April 5, 2019                                           r
            Date                                      Signature of Attorney

                                                  Law Offices of Mark M. Kratter, LLC
                                                     Name of law firm
               Case 19-50486               Doc 1            Filed 04/12/19     Entered 04/12/19 15:49:22                Page 53 of 64

                                                          UNITED STATES BANKRUPTCY COURT
                                                                   District of Connecticut

In re: Stanley    H. Thompson                                                                                Case No.


                                                                                                             Chapter7


                                                   BUSINESS INCOME AND EXPENSES
                                                                        SPOUSE

                        FINANCIAL REVIEW OF THE DEBTOR 'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business
operation .)

PART A- GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:

       1. Gross Income For 12 Months Prior to Filing:                                              $50,903.00

PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME :

       2. Gross Monthly Income:                                                                                                 $    3,000.00

PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

       3. Net Em ployee Payroll (Other Than Debtor)                                                 $
                                                                                                        --------
       4. Payroll Taxes
       5. Unemployment Taxes
       6. Worker's Compensation
       7. Other Taxes                                                                                   200.00
       8. Inventory Purchases (Including raw materials)
       9. Purchase of Feed/Fertilizer/Seed/Spray
      10. Rent (Other tha n debtor's principal residence)
      11   Utilities                                                                                    300.00
      12. Office Expen ses and Supplies                                                                 100.00
      13. Repairs and Maintenance                                                                       100.00
      14. Vehicle Expenses
      15. Travel and Entertainment                                                                      250.00
       16. Equipment Rental and Leases                                                                  602.00
       17 . Legal/Accou nting/Other Professional Fees                                                   20.00
       18. Insurance
       19. Employee Benefits (e.g., pension , medical, etc.)

      20 . Payments to Be Made Directly By Debtor to Secured Creditors For
                 Pre-Petition Business Debts (Specify):

        internet                                                                                        243 00
       21 . Other (Specify):




       22. Total Monthly Expenses (Add items 3 - 21)                                                                             $    1,815.00

 PART D - ESTIMATED AVERAGE NET MONTHLY INCOME :

       23 . AVERAG E NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                                           $    1,185 00
 Case 19-50486                 Doc 1        Filed 04/12/19        Entered 04/12/19 15:49:22          Page 54 of 64


                                  UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF CONNECTICUT


In re                                                                      Chapter 7

        Stan ley H. Thompson                                               Case No .

                                 Debtors.



                                STATEMENT OF MONTHLY Gross INCOME
The undersigned certifies the following is the debtor's monthly income.


Income:                                        Debtor                                          Spouse

Six months ago                         $     1,034.00                                      $   1,000.00

Five months ago                        $     1,034.00                                      $   1,000.00

Four months ago                        $     1,034.00                                      $   1,000.00

Three months ago                       $     1,934.00                                      $   1,000.00

Two months ago                         $     1,934.00                                      $   1,000.00

Last month                             $     1,934.00                                      $   1,000.00

Total Gross income for
six months preceding filing            $     8,904.00                                      $   6,000 .00

Average Monthly Gross
Income                                 $     1,484.00                                      $   1,000.00




Dated :     April 5, 2019
                                                                                ls/Stanley H. Thompson
                                                                                  Stanley H. Thompson
                                                                                         Debtor
Case 19-50486           Doc 1       Filed 04/12/19          Entered 04/12/19 15:49:22                Page 55 of 64




Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 201 O)


                                                                 Chapter 7:        Liquidation
 This notice is for you if:                                      ------·----------···------
    .a You are an individual filing for bankruptcy,                        $245     filing fee
       and                                                                  $75     administrative fee
                                                                 +          $15     trustee surcharge
       Your debts are primarily consumer debts.
                                                                           $335     total fee
       Consumer debts are defined in 11 U.S.C.
       § 101 (8) as " incurred by an individual                  C hapter 7 is for indi vidua ls w ho have financial
       primarily for a personal, family, or                      difficulty preventing them from paying their
       household purpose."                                       debts and who are willing to al low their non-
                                                                 exempt property to be used to pay their
                                                                 creditors. The primary purpose of filing under
                                                                 chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                 bankruptcy discharge relieves you after
available to individuals                                         bankruptcy from having to pay many of your
                                                                 pre-bankruptcy debts. Exceptions exist for
Indi viduals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                      be enforced after discharge. For example, a
Bankruptcy Code:                                                 creditor may have the right to forec lose a home
                                                                 mortgage or repossess an automobile.
a     C hapter 7 -     Liquidation
                                                                 However, if the court finds that you have
•     Chapter 11- Reorganization
                                                                 committed certain kinds of improper conduct
                                                                 described in the Bankruptcy Code, the court
•     Chapter 12- Voluntary repayment plan .
                                                                 may deny yo ur discharge.
                  for family farmers or
                  fishermen
                                                                 You should know that even if you ft le
                                                                 chapter 7 and you receive a discharge, some
•     Chapter 13- Voluntary repayment plan
                                                                 debts are not discharged under the law.
                  for individuals with regular
                                                                 T herefore, you may sti ll be respon s ibl e to pay:
                  income
                                                                 •    most taxes;
You should have an attorney review your                           •   most student loans;
decision to file for bankruptcy and the choice of
                                                                  •   domestic support and prope1iy settlement
chapter.
                                                                      obligations;




 Notice Required by 11 U.S.C. U.S .C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 1
Case 19-50486           Doc 1      Filed 04/12/19          Entered 04/12/19 15:49:22                Page 56 of 64




ill   most fines , penalties, forfeitures, and                 your income is more than the median income
      criminal restitution obligations; and                    for your state of residence and family size,
•     certain debts that are not listed in your                depending on the results of the Means Test, the
      bankruptcy papers.                                       U.S. trustee, bankruptcy administrator, or
                                                               creditors can file a motion to dismiss your case
You may also be required to pay debts arising                  under § 707(b) of the Bankruptcy Code. If a
from:                                                          motion is filed , the court will decide if your
                                                               case should be dismissed. To avoid dismissal ,
11    fraud or theft;
                                                               you may choose to proceed under another
•     fraud or defalcation while acting in breach              chapter of the Bankruptcy Code.
      of fiduciary capacity;
                                                               If you are an individual filing for chapter 7
•     intentional injuries that you inflicted; and
                                                               bankruptcy, the trustee may sell your prope1ty
•     death or personal injury caused by                       to pay your debts, subject to your right to
      operating a motor vehicle, vessel , or                   exempt the property or a portion of the
      aircraft while intoxicated from alcohol or               proceeds from the sale of the prope1ty. The
      drugs.                                                   property, and the proceeds from prope1ty that
                                                               your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds              Exemptions may enable you to keep your
that you have enough income to repay                           home, a car, clothing, and household items or
creditors a certain amount. You must file                      to receive some of the proceeds if the prope1ty
Chapter 7 Statement of Your Current Monthly                    is sold.
Income (Official Form I 22A-I) if you are an
individual filing for bankruptcy under                         Exemptions are not automatic. To exempt
chapter 7. This form will determine your                       property, you must list it on Schedule C: The
current monthly income and compare whether                     Property You Claim as Exempt (Official Form
your income is more than the median income                     I 06C). If you do not list the property, the
that applies in your state.                                    trustee may set I it and pay al I of the proceeds
                                                               to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form , the Chapter 7 Means                      Chapter 11: Reorganization
Test Calculation (Official Form I 22A-2).
                                                                         $1,167    filingfee
If your income is above the median for your                     +          $550    administrative fee
state, you must file a second form -the                                  $1 ,717   totalfee
Chapter 7 Means Test Calculation (Official
Form I 22A-2). The calculations on the form-                    Chapter 11 is often used for reorganizing a
sometimes called the Means Test--<leduct                        business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If



Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2
Case 19-50486           Doc 1       Filed 04/12/19          Entered 04/12/19 15:49:22               Page 57 of 64




Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical , and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime ; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under cha pter 13, yo u must fi le w ith the cou 11
            farmers or fishermen                                a plan to repay your cred itors all or part of the
                                                                money that you owe them, usuall y us in g your
          $200    filing fee
                                                                fu ture earnings. If the court a pproves your
+          $75    administrative fee
                                                                plan, the court w ill a ll ow you to repay your
          $275    total fee
                                                                debts, as adjusted by the plan, w ithin 3 years or
Simil ar to chapter 13, chapter 12 permits                      5 years, depend in g on your income and other
fa mily farmers and fi shermen to repay thei r                  factors.
debts over a peri od of time us ing fut ure
                                                                After yo u make all the payme nts under your
earnin gs and to di scharge some debts that are
                                                                plan, many of your debts are di scharged. The
not paid .
                                                                debts that are not d isc harged and that yo u may
                                                                still be res ponsible to pay in c lude:
                                                                •    domestic support obl igations,
Chapter 13: Repayment plan for
            individuals with regular                            •    most stud ent loans,
            income                                              •    certain taxes,
                                                                •    de bts for frau d or theft,
          $235    filing fee
                                                                •    debts fo r fraud or defa lcation w hile act in g
+          $75    administrative fee
                                                                     in a fi duc iary capac ity,
          $310    total fee
                                                                •    most crim ina l fin es and restitut ion
Cha pter 13 is for ind iv iduals w ho have regular                   obl igati ons,
income and would like to pay all or part of                      •   certain de bts th at are not li sted in your
thei r de bts in insta llments over a peri od of ti me               bankruptcy papers,
and to di scharge some debts that are not pa id .
                                                                 •   certai n de bts fo r acts that caused death or
Yo u are e ligi ble fo r chapter 13 only if your
                                                                     persona l inj ury, and
debts are not more than certain do llar amo unts
set fo rth in 11 U .S.C. § I 09.                                 •   ce1tai n long-term sec ured debts.



Notice Required by 11 U.S.C. U.S.C . § 342(b) for Individuals Filing for Bankruptcy (Form 2010)        pag e 3
Case 19-50486                  Doc 1        Filed 04/12/19       Entered 04/12/19 15:49:22               Page 58 of 64




                                                                    A married couple may file a bankruptcy case
                                                                    together-called a joint case. If yo u file a joint
         Warning: File Your Forms on Time
                                                                    case and each spouse lists the same mailing
         Section 521 (a)(1) of the Bankruptcy Code                  address on the bankruptcy petition , the
         requires that you promptly file detailed information
                                                                    bankruptcy court generally will mail yo u and
         about your creditors, assets, liabilities, income,
         expenses and general financial condition . The
                                                                    your spouse one copy of each notice, unless
         court may dismiss your bankruptcy case if you do           you file a statement with the comt asking that
         not file this information within the deadlines set by      each spouse receive separate copies .
         the Bankruptcy Code, the Bankruptcy Rules , and
         the local rules of the court.

         For more information about the documents and               Understand which services you
         their deadlines, go to:                                    could receive from credit
         http://www.uscourts. gov/bkforms/bankruptcy form           counseling agencies
         s.html#procedure.
                                                                    The law generally requires that you receive a
                                                                    credit counseling briefing from an approved
                                                                    credit counseling agency. 11 U.S.C. § I 09(h).
 Bankruptcy crimes have serious
                                                                    If you are filing a joint case, both spouses must
 consequences
                                                                    receive the briefing. With limited exceptions,
 ~         If you knowingly and fraudulently conceal                you must receive it within the 180 days before
           assets or make a false oath or statement                 you file your bankruptcy petition. This briefing
           under penalty of perjury--either orally or               is usually conducted by telephone or on the
           in writing-in connection with a                          Internet.
           bankruptcy case, you may be fined ,
           imprisoned, or both.                                      In addition , after filing a bankruptcy case, you
                                                                     generally must complete a financial
 !llll      All information you supply in connection                 management instructional course before you
           with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
           examination by the Attorney General acting                case, both spouses must complete the course.
           through the Office of the U.S. Trustee, the
           Office of the U.S . Attorney, and other                   You can obtain the list of agencies approved to
           offices and employees of the U.S.                         provide both the briefing and the instructional
           Department of Justice.                                    course from:
                                                                     http://justice.gov/ust/eo/hapcpa/ccde/cc approved. html .
 Make sure the court has your                                        In Alabama and North Caro lina, go to:
 mailing address                                                     http://wvvw. uscou rts. gov/F ederalCou rts/Bankru ptcy/

 The bankruptcy court sends notices to the                           BankruptcyResources/ApprovedCred it

 mailing address you list on Voluntary Petition                      AndDebtCounselors.aspx .

 for Individuals Filing for Bankruptcy (Official
                                                                     If you do not have access to a computer, the
  Form I 0 I). To ensure that you receive
                                                                     clerk of the bankruptcy court may be ab le to
  information about your case, Bankruptcy
                                                                     help you obtain the list.
  Rule 4002 requires that you notify the court of
 any changes in yo ur address.



 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)               page 4
Case 19-50486   Doc 1   Filed 04/12/19   Entered 04/12/19 15:49:22   Page 59 of 64

                        Bank of America
                        ATTN: Collection Agent
                        PO Box 15019
                        Sioux Falls , DE 19885


                        Chase
                        ATTN: Collection Agent
                        PO Box 1423
                        Charlotte,NC 28201


                        Citi Cards
                        Attn : Collection Agent
                        P . O. Box 70166
                        Philadelphia , TX 19176


                        CitiCards
                        Attn : Collecion Agent
                        P . O. Box 900006
                        Louisville,KY 40290


                        Select Portfolio Servicing
                        ATTN: Collection Agent
                        PO Box 65250
                        Salt Lake city , UT 84165


                        Synchrony Bank
                        Attn : Collection Agent
                        P . O. Box 960013
                        Orlando,DE 32896


                        Webster Bank
                        ATTN : Collection Agent
                        P.O. Box 6335
                        Fargo,UT 58125
           Case 19-50486              Doc 1        Filed 04/12/19            Entered 04/12/19 15:49:22                    Page 60 of 64
                                                   UNITED STATES BANKRUPTCY COURT
                                                           District of Connecticut



In re :
          Stanley H. Thompson
                                               Debtors
                                                                                                       Chapter



                                       VERIFICATION OF CREDITOR MATRIX
               The above named debtor(s) , or debtor's attorney if applicable, do hereby certify under penalty of perjury that the
          attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
          Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




          Dated :     April 5, 2019                                             Signed : ls/Stanley H. Thompson        Ad,..   'J.J,.   .f~



          Dated :                                                               Signed: - - - - - - - - - - - - - - - - - -



                     ls/Mark M. Kratter
                     Mark M. Kratter
                     Attorney for Debtor(s)
                     Bar no.: ct13005
                     71 East Avenue, Suite K
                     Norwalk, Connecticut 06851
                     Telephone No: (203) 853-2312
                     Fax No: (203) 853-2317

                      E-mail address: laws4ct@aol.com
        Case 19-50486                Doc 1        Filed 04/12/19            Entered 04/12/19 15:49:22                   Page 61 of 64

                                                   UNITED STATES BANKRUPTCY COURT
                                                                   District of Connecticut



                                      STATEMENT OF INFORMATION REQUIRED BY 11U.S.C.§341



INTRODUCTION

            Pursuant to the Bankruptcy Reform Act of 1994, the Office of the United States Bankruptcy
Administrator has prepared this information sheet to help you understand some of the possible consequences
of filing a bankruptcy petition under chapter 7 of the Bankruptcy Code. This information is intended to make
you aware of -
            (1) the potential consequences of seeking a discharge in bankruptcy,
                  including the effects on credit history;
            (2) the effect of receiving a discharge of debts in bankruptcy;
            (3) the effect of reaffirming a debt; and
            (4) your ability to file a petition under a different chapter of the Bankruptcy
                  Code.
            There are many other provisions of the Bankruptcy Code that may affect your situation. This
statement contains only general principles of law and is not a substitute for legal advice. If you have any
questions or need further information as to how the bankruptcy laws apply to your specific case, you should
consult with your lawyer.

WHAT IS A DISCHARGE?

            The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you
listed in your bankruptcy schedules. A discharge is a court order that says that you do not have to repay your
debts , but there are a number of exceptions . Debts which usually may not be discharged in your chapter 7
case include, for example, most taxes, child support, alimony, and student loans; court-ordered fines and
restitution ; debts obtained through fraud or deception ; debts which were not listed in your bankruptcy
schedules; and personal injury debts caused by driving while intoxicated or taking drugs. Your discharge may
be denied entirely if you , for example , destroy or conceal property; destroy , conceal or falsify records ; or make
a false oath. Creditors cannot ask you to repay debts which have been discharged. You can only receive a
chapter 7 discharge once every eight (8) years .

WHAT ARE THE POTENTIAL EFFECTS OF A DISCHARGE?

           The fact that you filed bankruptcy can appear on your credit report for as long as 10 years.
Thus, filing a bankruptcy petition may affect your ability to obtain credit in the future. Also , you may not be
excused from repaying debts that were not listed on your bankruptcy schedules or that you incurred after you
filed bankruptcy. There are exceptions to this general statement. See your lawyer if you have questions.

WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?

           After you file your bankruptcy petition , a creditor may ask you to reaffirm a certain debt or you
may seek to do so on your own . Reaffirming a debt means that you sign and file with the court a legally
enforceable document which states that you promise to repay all or a portion of the debt that may otherwise
have been discharged in your bankruptcy case . Reaffirmation agreements must generally be filed with the court
sixty (60) days after the first meeting of creditors.
           Reaffirmation agreements are strictly voluntary. They are not required by the Bankruptcy Code
or other state or federal law. You can voluntarily repay any debt instead of signing a reaffirmation agreement,
but there may be valid reasons for wanting to reaffirm a particular debt. This is particularly true when property
you wish to retain is collateral for a debt.
           Reaffirmation agreements must not impose an undue burden on you or your dependents and
must be in your best interest. If you decide to sign a reaffirmation agreement, you may cancel it at any time
before the court issues an order of discharge or within sixty (60) days after you filed the reaffirmation agreement
with the court, whichever is later.
           If you reaffirm a debt and fail to make the payments as required in the reaffirmation agreement,
the creditor can take action against you to recover any property that was given as security for the loan and you
may remain personally liable for any deficiency. In addition , creditors may seek other remedies , such as
garnishment of wages.

 OTHER BANKRUPTCY OPTIONS
        Case 19-50486               Doc 1        Filed 04/12/19           Entered 04/12/19 15:49:22                      Page 62 of 64
           You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs.
Even if you have already filed for relief under chapter 7, you may be eligible to convert your case to a different
chapter.
           Chapter 7 is the liquidation chapter of the Bankruptcy Code. Under chapter 7, a trustee is
appointed to collect and sell , if economically feasible , all property you own that is not exempt from these
actions .
           Chapter 11 is the reorganization chapter most commonly used by businesses , but it is also
available to individuals. Creditors vote on whether to accept or reject a plan , wh ich also must be approved by
the court. While the debtor normally remains in control of the assets, the court can order the appointment of
a trustee to take possession and control of the business.
           Chapter 12 offers bankruptcy relief to those who qualify as family farmers. Family farmers
must propose a plan to repay their creditors over a three-to-five year period and it must be approved by the
court. Plan payments are made through a chapter 12 trustee , who also monitors the debtors' farming
operations during the pendency of the plan .
           Finally , chapter 13 generally permits individuals to keep their property by repaying creditors
out of their future income. Each chapter 13 debtor writes a plan which must be approved by the bankruptcy
court. The debtors must pay the chapter 13 trustee the amount set forth in their plan . Debtors receive a
discharge after they complete their chapter 13 repayment plan . Chapter 13 is only available to individuals with
regular income whose debts do not exceed $1 ,000,000 ($250,000 in unsecured debts and $750,000 in secured
debts).

       AGAIN , PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR
EXPLANATION , INCLUDING HOW THE BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE .

          By signing below, I/we acknowledge that I/we have received a copy of this document, and that
I/we have had an opportunity to discuss the information in this document with an attorney of my/our choice.



Date    April 5. 2019                                               ls/Stanley H. Thompson . _)'      L.+-y :;b ~.._._..._..,,,
                                                                                                                     0




                                                                    Stanley H. Thompson




                                                                     2
          Case 19-50486        Doc 1      Filed 04/12/19       Entered 04/12/19 15:49:22            Page 63 of 64

                                WRITTEN NOTICE REQUIRED UNDER SECTION 527(a)(2)


              All information that you are required to provide with a petition and thereafter during a case under title 11
("Bankruptcy") of the United States Code is required to be complete, accurate, and truthful.

             All assets and all liabilities are required to be completely and accurately disclosed in the documents filed
to commence the case, and the replacement value of each asset as defined in title 11 United States Code section 506
must be stated in those documents where requested after reasonable inquiry to establish such value.

               Current monthly income, the amounts specified in section 707(b)(2) , and , in a case under chapter 13 of
title 11, disposable income (determined in accordance with section 707(b)(2)), are required to be stated after
reasonable inquiry .
              Information that you provide during your case may be audited pursuant to title 11. Failure to provide
such information may result in dismissal of the case under title 11 or other sanction, including criminal sanctions.



   Date   April 5, 2019                                   ls/Stanley H Thompson         kA, f ,p   ~ "'
                                                          Stanley H. Thompson
                                                          Debtor




                                                          Joint Debtor

                                                                                    /
                                                           Mark M. Kratter
                                                           Attorney for Debtor(s)
        Case 19-50486        Doc 1     Filed 04/12/19        Entered 04/12/19 15:49:22             Page 64 of 64

                       IMPORTANT INFORMATION ABOUT BANKRUPTCY ASSISTANCE
                    SERVICES FROM AN ATTORNEY OR BANKRUPTCY PETITION PREPARER

            If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to represent
you , or you can get help in some localities from a bankruptcy petition preparer who is not an attorney . THE LAW
REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION PREPARER TO GIVE YOU A WRITTEN CONTRACT
SPECIFYING WHAT THE ATTORNEY OR BANKRUPTCY PETITION PREPARER WILL DO FOR YOU AND HOW
MUCH IT WILL COST. Ask to see the contract before you hire anyone.

         The following information helps you understand what must be done in a routine bankruptcy case to help you
evaluate how much service you need. Although bankruptcy can be complex, many cases are routine .


            Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for different forms
of debt relief available under the Bankruptcy Code and which form of relief is most likely to be beneficial for you . Be
sure you understand the relief you can obtain and its limitations. To file a bankruptcy case, documents called a Petition ,
Schedules and Statement of Financial Affairs, as well as in some cases a Statement of Intention need to be prepared
correctly and filed with the bankruptcy court. You will have to pay a filing fee to the bankruptcy court. Once your case
starts, you will have to attend the required first meeting of creditors where you may be questioned by a court official
called a "trustee" and by creditors.


          If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You may want help
deciding whether to do so. A creditor is not permitted to coerce you into reaffirming your debts.


            If you choose to file a chapter 13 case in which you repay your creditors what you can afford over 3 to 5
years, you may also want help with preparing your chapter 13 plan and with the confirmation hearing on your plan which
will be before a bankruptcy judge.

            If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13, you will
want to find out what should be done from someone familiar with that type of relief.


             Your bankruptcy case may also involve litigation. You are generally permitted to represent yourself in
litigation in bankruptcy court, but only attorneys, not bankruptcy petition preparers, can give you legal advice.




 Date   April 5, 2019                                     ls/Stanley H. Thompson   ~ ?1- ~
                                                          Stanley H. Thompson
                                                          Debtor




                                                          Joint De~r


                                                          /s/~M. ~~
                                                          Mark M. Kratter
                                                          Attorney for Debtor(s)




                            This disclosure is provided to assisted persons pursuant to 11 U.S.C. §527(b)
